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                         UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF CONNECTICUT


 JACK MONTAGUE,
      Plaintiff,

 v
                                                               CNIL ACTION
 YALE UNIVERSTIY, ANGELA GLEASON,                              No.
 and JASON KILLHEFFER,
          Defendants.




                                 COMPLAINT AND JURY DEMAND

                                           INTRODUCTION

         1.      As of the fall of 2015, Jack Montague had a promising future. He was poised to

graduate from Yale University in the spring of 2016      with a Bachelor of Arts in American

Studies, and he was captain of Yale's basketball team, which was having its most successful

season   in 54 years.

         2.      That all changed on November 30, 2015, however, when Montague received a

letter from Yale's University V/ide Committee on Sexual Misconduct informing him that he was

the subject of a formal complaint based on a sexual encounter he had with another Yale student

in the fall of 2014.

         3.      This was not the first, or the second, or the third sexual encounter Montague had

had with this same female student. Nor was       it even the first time he and the student had engaged

in sexual intercourse. But now, ayear after the fact, the female student    -   who was affirmatively

misled by the defendants into participating in a formal complaint process initiated by Yale and

not by the student herself   -   claimed that justparr of her encounter with Montague (the

intercourse) was nonconsensual. And she made this claim despite calling Montague shortly after
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the encounter, voluntarily rejoining him the same evening, flirting with him on the way back to

his bedroom, and spending the remainder of the night in his bed with him.

          4.        In the months that followed, Montague found himself thrust into the confusing,

terrifying, and lonely process through which those accused of sexual misconduct are

maneuvered, and into the midst of Yale's ongoing battle to establish itself as an institution that

takes accusations of sexual misconduct seriously. Unfortunately for Montague, he was a prime

candidate to serve as Yale's poster boy for tough enforcement of its Sexual Misconduct Policies:

popular, well-liked and respected amongst his peers at Yale, and known throughout the country

as one of Yale's most promising men's basketball stars.      In short, imposing harsh discipline on

Montague would surely make an impact.

          5.        Less than three months after the complaint was lodged against him, Montague

was expelled from Yale, kicked       off his beloved basketball team, branded a sex offender, and

widely castigated as a "rapist." Those who stuck by him were likewise criticized for condoning

"rape," and were forced to publicly apologize for their support. His name appeared in local and

national headlines alongside some of the most damning words that could be uttered about a

young man: "sexual misconduct." His promising future crumbled into dust.

          6.        The actions taken by the defendants resulted from a deeply flawed procsss during

which the plaintiff was denied the most rudimentary elements of faimess promised to him by

Yale in its Procedures Governing the University Wide Committee on Sexual Misconducf. As a

result, Mr. Montague suffered, and continues to suffer, reputational, emotional, and financial

damages of an enormous magnitude.




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                                    JURISDICTION AND VENUE

          7.       This action arises out of Yale University's breach of its contractual and other

obligations to the plaintifï, as well as its violations of Title IX of the Education Amendments of

1972 (20 U.S.C. $ 1681) and42 U.S.C. $ 1981.

          8.       The plaintiff is a resident of Tennessee, and Yale University and Defendants

Angela Gleason and Jason Killheffer are residents of Connecticut. The amount in controversy is

over $75,000.

          9.       This Courthas jurisdictionpursuantto 28 U.S.C. $$ 1331 and1332.

          10.      Venue is proper under 28 U.S.C. $ 1391(b).

                                                PARTIES

          11.      The plaintiff, Jack Montague ("plaintiffl'or "Montague"), resides in Tennessee

and was formerly a      full-time student at Yale. Mr. Montague was wrongfully and improperly

expelled in February of 2016, while in his senior year at the University. Montague enrolled at

Yale in the fall of 2012 after graduating from a public high school in Tennessee. He was

recruited to play basketball for the Yale men's basketball team, the Yale Bulldogs.

          12.      The defendant Yale University ("Yale" or "the University") is a private liberal

arts college located in New Haven, Connecticut,       with approximately 5,500 enrolled

undergraduates, and is the beneficiary of federal funds within the meaningof 20 U.S.C. $1681 e/

seq.   ("Title IX").

          13.      The defendant Angela Gleason ("Gleason") was, at the time of the events at issue,

a Deputy    Title IX Coordinator in the Offrce of the Provost at Yale University.

          1.4.     The defendant Jason Killheffer ("Killheffer") was, at the time of the events at

issue, a Senior Deputy Title     IX Coordinator in the Offrce of the Provost   at Yale University.


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                                                    FACTS

                         The Climate at Yale for Sexual Misconduct Discipline

         15.        This case arose during a tumultuous period at Yale in which the University faced

mounting criticism concerning its handling of allegations of sexual assault made by female

students against male students. Specifically, Yale had been accused by students and alumni alike

of not taking these allegations of sexual misconduct seriously enough and of shirking its duty to

harshly punish perpetrators of sexual assault. Moreover, results from a survey of 27 colleges and

universities around the country painted a damning picture of the campus climate: sexual assaults

atYale, according to the survey, were the third-highest of all the schools surveyed. As a

consequence, the University had to show it was          willing to take a hard line against male students

accused of sexual assault in order to dispel the notion that Yale's campus was an unfriendly and

unsafe environment for women.

         16.         On April 4,2011, the Office of Civil Rights ("OCR") of the U.S. Department        of

Education ("DOE") issued a guidance letter to colleges and universities in the United States,

widely known        as the   "Dear Colleague" letter. The letter advised recipients that sexual violence

constitutes sexual harassment within the meaning of Title IX of the Education Amendments               of
                                                                                  ootake
1972,20 U.S.C. $1681 et seq. and its regulations, and directed schools to                  immediate action

to eliminate the harassment, prevent its recurrence, and address its.effects."

         17.         In the wake of the "Dear Colleague" letter, the DOE commenced numerous

investigations against colleges and universities, with the underlying threat that those not in

compliance stood to lose federal funding.

         18.         Just one month before OCR issued the "Dear Colleague" letter, OCR received a

complaint alleging thata sexually hostile environment existed at Yale and that Yale had not


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responded in a prompt and adequate manner. The complaint stemmed in part from a well-

publicized incident in October of 2010 in which fraternity pledges chanted sexually aggressive

comments outside the Yale Women's Center.

         19.      OCR assessed whether Yale had prompt and equitable grievance procedures to

address complaints under Title   IX, and whether Yale had allowed   a sexually hostile environment

to be created on campus by not sufficiently responding to complaints of sexual harassment.

         20.      OCR concluded Yale was deficient in a number of areas.

         21.      Consequently, in July of 2011, Yale created the University Wide Committee on

Sexual Misconduct ("UW'C"), a committee that provides both formal and informal ways to

resolve grievances concerning alleged sexual misconduct. The UV/C is charged with enforcing

Yale's Sexual Misconduct Policies. A true and correct copy of Yale's Sexual Misconduct

Policies is attached hereto as Exhibit   1.


         22.      In connection with the creation of the UWC, Yale adopted Procedures Governing

the University Wide Committee on Sexual Misconduct (*UWC Procedures"), which set out the

rights and responsibilities of the University, an accuser, and an accused in the case of a

complaint of sexual misconduct. A true and correct copy of the UWC Procedures is attached

hereto as Exhibit 2.

         23.      In addition, Yale established the Sexual Harassment and Assault Response and

Education ("SHARE") Center, which serves as the initial place of referral for students seeking

services and options as a result of alleged sexual misconduct.

         24.      In the wake of the2010 complaint to OCR, Yale also began tracking complaints

of sexual misconduct and compiling the data in semi-annual reports (the "Spangler Reports")




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named for Yale's Deputy Provost Stephanie Spangler, who supervises the activities of Yale's

Title IX coordinators.

        25.       On June 15,2012, OCR resolved the Title IX complaint against Yale through a

voluntary resolution agreement (the "Resolution Agreement"). Yale agreed to implement a new

Title IX coordinator structure, and the Resolution Agreement itself provided for the monitoring

of that implementation.

        26.       Yale remained under the watchful eye of the OCR well into2014, in part because

it had agreed, pursuant to the Resolution Agreement, to report to the OCR on a periodic basis

and to allow OCR to visit its campus "whenever necessary" to determine whether Yale was

indeed fulfilling the terms of the Agreement and was in compliance with Title IX.

        27.       OCR was not the only group watching Yale, however. The July 31,2013,

Spangler Report sparked outrage amongst alumni groups and student groups, such as "Students

Against Sexual Violence at Yale" ("SASVY"), because the report revealed that students whom

UV/C had found responsible for oononconsensual sex" wsre allowed to remain at Yale and in

some cases were punished only with written reprimands.

         28.      These groups not only took issue with what they viewed as inadequate discipline,

they attacked Yale's use of the term "nonconsensual sex." That term, a group of 229 Yale alumni

said in an August, 2013 "open letter" to Yale's president, Peter Salovey, and Provost Spangler,

"reinforce[s] the rape myth that there are two tiers of sexual assault." The message from these

229 alttmni was blunt: "Yale needs to be clear: Sex without consent is sexual assault."

         29.      Around the same time the open letter was published, two Change.org petitions

appeared online calling for tougher penalties for sexual assault.




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          30.       To answer these critics' concerns that the University was not automatically

removing all "sexual assailants" from campus and was unfairly using "nonconsensual sex" as a

euphemism for what the critics believed amounted to 'orape" in all instances, Yale issued a series

of hypothetical fact patterns, entitled "Sexual Misconduct Scenarios," to explain how it

categorizes and punishes different types ofsexual encounters. A true and correct copy ofthe

Sexual Misconduct Scenarios is attached hereto as Exhibit 3.

          31.       The "Sexual Misconduct Scenarios" describe various sexual situations along a

spectrum     -   in some scenarios, consent is clear; in others, it is ambiguous; and in others there is   a


clear lack of consent. Each scenario is followed by the penalty or ranges of penalties likely in

that particular, fact-specific circumstance (should a penalty be appropriate). (See Exhibit 3.)

          32.       If the "Sexual Misconduct Scenarios"    served to quell the tide of criticism against

Yale, it was a short-lived calm. In September of 2015, a beleaguered Yale took yet another hit:

the Association of American Universities ("AAU") released the results of a survey of 27 colleges

around the country showing that rates of undergraduate sexual assaults at Yale were the third-

highest among the schools surveyed. President Salovey called the results of the survey

"profoundly troubling," and vowed to "redouble [Yale's] efforts" to combat sexual assault and

misconduct.

          33.       Meanwhile, Yale students seized on the results as another opportunity to criticize

the University. For example, one student who was interviewed by the New Haven Register

bemoaned the lack of "protocol        o[r] repercussions for people who have done things on this

campus," and another charged that the administration was not adequately performing its role in

dealing with sexual misconduct on campus.




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          34.       As it turned out, Yale students had responded to this survey at a much higher rate

than students at most of the 27 other colleges and universities: over half of Yale's entire student

population participated in the survey.

          35.       In short, Yale knew its students were paying close attention to the issue of sexual

misconduct on campus, and that they had strong views on how Yale had responded, historically,

to complaints of sexual assault.

          36.       It was in this climate - permeated by deep mistrust and anger amongst Yale

students and near-panic on the part of Yale administrators             -   that the defendants misled and

pressured a female student, against her original wishes, to participate in a formal complaint

process against Jack Montague, accusing him of sexual assault.

                                     Initiation of the Complaint Process

          37.       The proceedings against Mr. Montague began in earnest on November 18, 2015,

when Senior Deputy Title IX Coordinator Jason Killheffer hled a formal complaint alleging that

Montague sexually assaulted Jane Roel more than ayear earlier, on the night of October 18-19,

2014.

          38.       The allegations involved an incident in which Roe            -   with whom Montague had

had sexual intercourse on at least one other occasion, and sexual encounters not involving

intercourse on several other occasions         - willingly accompanied Montague             to his bedroom,

removed her clothing as he removed his, got into his bed, and engaged in consensual sexual

conduct. Roe was now claiming the intercourse that followed the consensual sexual foreplay was

nonconsensual.



I Jane Roe is a pseudonym being used to protect this student's privacy. Except where the student has chosen to
reveal his/her identity in the press, this complaint will identifu other students through use of pseudonyms in order to
protect their privacy.

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          39.       It was not Roe's idea to file the formal complaint against Montague, however.

          40.       On September      2I,20I5,   one of Roe's suitemates, Rachel Rogers,2 was speaking

with Deputy Title IX Coordinator Angela Gleason about                    a   different matter and took it upon

herself to mention to Gleason that a friend of hers            -   Roe   - had had a "bad experience."
          4I.       Rogers outlined the general details of Roe's "bad experience" and asked Gleason

what she (Rogers) could do to help Roe. Rogers also revealed to Gleason that the person with

whom Roe had the "bad experience" was Jack Montague, the popular captain of Yale's men's

basketball team.

          42.       Upon hearing the name of the alleged perpetrator, Gleason urged Rogers to

convince Roe to come forward and report the incident.

          43.       On October 15,2015, Rogers talked to Roe about her conversation with Gleason,

but Roe was hesitant to talk to Gleason. Roe asked Rogers to reach out to Gleason again and ask

some additional questions so she could make a decision about whether to meet with Gleason or

not.

          44.       The following day, at Roe's request, Rogers met with Gleason again to discuss

Roe's situation and, on information and belief, informed Gleason that Roe was reluctant to make

a report.


          45.       Trying   a   different tack to induce Roe to come forward, Gleason suggested to

Rogers that she (Rogers) could inform Roe there were various formal and informal procedures

available to deal with sexual misconduct, including the option of making an anonymous informal

complaint.




2
  Rachel Rogers is a pseudonym being used to protect this student's privacy. Except where the student has chosen to
reveal his/her identity in the press, this complaint will identifu other students through use of pseudonyms in order to
protect their privacy.
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         46.        Gleason described the anonymous informal complaint process to Rogers as a

means through which Roe could speak to Gleason but request that her name be kept confidential;

Gleason would then call Montague in for a conversation, inform him that a complaint was made

against him, and suggest he participate in training about communication and sexual consent.

Rogers said Gleason told her that the counseling would "help [Montague] avoid repeating his

behavior with anyone else."

         47.        According to Rogers, when she relayed this information to Roe, Roe liked the

idea of the anonymous informal complaint process. Roe thought it would              "fulflll her goal of

making sure Mr. Montague understood [that] his behavior was wrong and hurtful and [would]

stop him from doing       it again to someone else," but it would also allow her to avoid the formal

complaint process.

         48.        Indeed, Roe was clear that she did not want to engage in the formal complaint

process. She was "not interested in having Mr. Montague punished[.]"

         49.        Based on the information that Gleason provided to Rogers, Roe finally met               with

Gleason on October 19,2015.

         50.        On November 6, 2015, Gleason contacted Roe and told her she would not be able

to keep Roe's name confidential after all.

         51   .     There is nothing in Yale's UWC Procedures or its Sexual Misconduct Policies

that prevents the University from keeping a complainant's name confidential, however. On the

contrary, Yale's policy is to honor a complainant's request to keep her name confidential               -   and

keep the process informal,      if the complainant   so chooses   - unless there are "allegations of
violence," in which case      oothe
                                      UWC may not be able to honor    a request   for confidentiality   if
doing so would endanger the safety or well-being of the complainant or other members of the


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Yale community." (See Exhibit2.) In fact, in a document entitled "Reporting Sexual Misconduct

to a Title IX Coordinator," Yale explicitly states that "[e]xcept in cases of acute threat,

coordinators will not take any action that could compromise a complainant's confidentiality

without the complainant's agreement (emphasis added)."         4 true and correct   copy of Reporting

Sexual Misconduct to a Title IX Coordinator is attached hereto as Exhibit 4.

          52.       This was not a case in which there was "acute threat" to anyone. It was therefore

false and highly misleading for Gleason to tell Roe that the option to keep her name confidential

was no longer available to her.

          53.       Gleason also explained to Roe during the November 6 conversation that

Montague had already been referred for SHARE training after a previous complaint against him

and so the option of informal resolution and training was no longer available to him.

          54.       In so informing Roe, Gleason either directly told Roe or clearly implied to Roe

that the previous complaint against Montague was also a complaint of sexual assault.

          55.       This information was affirmatively false, a breach of Yale's explicit

confidentiality requirements, and contrary to Yale's UWC Procedures.

          56.       Montague had never before been the subject of a complaint of sexual assault. As

described in greater detail below, a female student accused him of rolling up a paper plate and

shoving it down her shirt. There was nothing'osexual" about that encounter, and the SHARE

training Yale imposed on Montague as a sanction for his conduct likewise had nothing to do with

SEX.


          57.       Furthermore, the UWC Procedures and the Provost's Statement on Confidentiality

of   UI44C Proceedings     strictly prohibited Gleason from disclosing to Roe any information

concerning the prior UWC proceedings against Montague or the outcome of those proceedings.


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(See   Exhibit2;   see also Provost's Statement on Confidentiality   of UWC Proceedings,   a true and


correct copy of which is attached hereto as Exhibit 5.)

         58.       Gleason blatantly violated the UV/C's confidentiality requirements not only by

telling Roe that there had been    a   prior UWC proceeding involving Montague, but worse, by

falsely telling or implying to Roe that Montague was the subject of a previous complaint of

sexual assault.

         59.       Finally, contrary to what Gleason told Roe, there is nothing in Yale's UWC

Procedures or its Sexual Misconduct Policies which bars Yale from conducting an informal

process and recommending training when an accused has already received training after a

previous complaint. That process was and should have remained available to Roe at the time she

made her report to Gleason.

         60.       After falsely informing Roe that the informal complaint process was foreclosed

because of Montague's prior disciplinary history, Gleason expressed concern that the incident

was serious and told Roe a Title IX Coordinator could file a formal complaint on Roe's behalf as

long as Roe agreed to cooperate as a witness.

          61.      Title IX Coordinators are permitted to bring formal actions on behalf of
                                                                                 o'such
complainants only in 'ocertain unusual circumstances" (emphasis added), however,        as


those involving risks to the safety of individuals and/or the community." (See Report      of

Complaints of Sexual Misconduct, atrue and correct copy of which is attached hereto as Exhibit

é.)

         62.       Montague posed no risk of safety either to Roe or to the Yale community, nor did

Roe or Yale ever claim he posed such a risk.




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          63.       As a direct result of Gleason's misrepresentations and false statements to Roe,

Roe agreed to cooperate in the formal complaint process in order o'to protect other women" from

Montague, whom she now believed had a history of sexual assault.

                                        Prior UWC Proceedings ("UWC I'o)

          64.       In point of fact, the prior UV/C complaint and resulting discipline against Mr.

Montague to which Gleason improperly referred is completely unrelated to "sexual assault," or

even to sexual misconduct.

          65.       On the last day of Montague's freshman year, he and some fellow Yale students

congregated on the sidewalk outside apízzaparlor in New Haven. Some of the students,

including Montague, were intoxicated. Montague engaged in a discussion with the other

students, including Sally Smith3        -   a graduating senior   -   for approximately 10-15 minutes.

          66.       According to Smith, Montague, who appeared to be annoyed by the end of the

conversation, rolled up a paper plate from the pizza parlor and put it down the front of Smith's

tank top. Smith did not allege that Montague made any statements of a sexual nature during the

interaction.

          67.       It is undisputed that "[t]here was no . . . skin-to-skin contact" during the incident.

          68.       Smith decided to file a formal Title IX complaint against Montague in the fall                of

2013, after she graduated from Yale. Her allegation was that Montague had violated the

University's Sexual Misconduct Policies by engaging in "sexual harassment."

          69.       The sexual harassment policy reads, in pertinent part:

          Sexual harassment consists ofnonconsensual . . . conduct ofa sexual nature on or
          off campus, when . . . such conduct has the purpose or effect of unreasonably

3
  Sally Smith is a pseudonym being used to protect this student's privacy. Except where the student has chosen to
reveal his/her identity in the press, this complaint will identiff other students through use of pseudonyms in order to
protsct their privacy.

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         interfering with an individual's work or academic performance or creating an
         intimidating or hostile academic or work environment. Sexual harassment may be
         found in a single episode, as well as in persistent behavior.

(See   Exhibit   1.)

         70.       Pursuant to the UWC Procedures, an independent fact-finder conducted an

investigation into Smith's complaint. Montague told the fact-finder he remembered nothing      of

the incident, but conceded that it likely occurred as Smith described. Montague said he was

"embarrassed and ashamed" by his behavior and "accept[ed] full responsibility for the incident

  ,)



         7t.       Smith's complaint proceeded to a UWC panel for fact-finding and, if necessary, a

disciplinary recommendation. The UWC panel concluded Montague violated the University's

Sexual Misconduct Policies by "sexually harassing" Smith. Specifically, the panel found that

Montague "without provocation rolled up a used, paper pizzaplate, shoved it down fSmith's]

shirt between her breasts and then walked away from her."

         72.       Consequently, the panel recommended Montague be placed on probation for four

terms; that he not be permitted to hold a leadership position in any student activity, orgarization

or sport; that he be required to enroll in sexual harassment and gender sensitivity training

through Yale's SHARE Center; that he be required to meet with a member of the SHARE Center

once each semester for the remainder of his time at Yale "to review and reflect on his

interactions and relationships with female students atYale"; and that he be required to receive

training on the appropriate use of alcohol.

         73.        Yale College Dean Mary Miller accepted the panel's findings of fact, conclusions

and recommendations.




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          74.            Under Yale's own policies and definitions, however, Montague's conduct did not

constitute "sexual harassment." Montague's conduct was not "conduct of a sexual nature," nor

did the panel find any conduct that could reasonably be construed as "sexual." Moreover,

Montague's conduct clearly did not "have the purpose or effect of unreasonably interfering with

fSmith's] work or academic performance or creating an intimidating or hostile academic or work

environment," nor did the panel find his conduct had that purpose or effect. In fact, it was

undisputed that the conduct occurred on the last day of the 2012-2013 academic year and that

Smith was a graduating senior who neither saw nor heard from Montague again after their

minutes-long interaction at an off-campus pizza parlor.

          75.            The outcome of the UV/C I proceeding was therefore eTroneous.

          76.            Moreover, the matter was outside the jurisdiction of the UWC, which addresses

only "lvliolations of sexual misconduct." (See Exhibit 2.)

          77.            This was an incident that should have been handled by Yale's Executive

Committee, which has jurisdiction over all other disciplinary infractions committed by Yale

undergraduate students.

          78.            On information and belief, the only reason Yale chose to treat the matter as

"sexual misconduct" and keep it with the UWC instead of transferring it to the Executive

Committee was the fact that the alleged perpetrator was a man and the alleged victim was a

woman.

          79.             Montague complied with all of the disciplinary conditions imposed upon him as a

result of UV/C I.

          80.             The training Montague received from the SHARE Center was wholly unrelated to

sexual relationships or to sexual consent. Indeed, apparently recognizing that Smith's complaint


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also had nothing to do     with sexual harassment, the SHARE trainer did not even focus

Montague's sessions on this topic.

                            Jane Roeos Complaint (ooUWC IIoo Proceedings)

          81.       It was only as a result of the false light in which Gleason portrayed the UWC I

proceedings and outcome to Roe that Roe agreed to cooperate in a formal complaint process

against Montague.

          82.       Indeed, as Roe later explained in her opening statement to the UWC panel, her

conversation with Gleason "reframed the incident" for her: she "had always viewed [herself] as

the victim of someone else's one-time mistake," but her "perspective broadened after [her]

conversation with Angie [Gleason], as [she] began to think about the other people on this campus

and how [her] choosing to remain silent on this matter could harm them." Having learned this

information about Montague from Gleason, Roe felt her "hands were tied; [she] could not, in

good conscience, say no to participating in the investigation."

          83.       On November 18, 2015, Defendant       Killheffer filed   a formal complaint   of sexual

assault against Mr. Montague alleging that Montague sexually penetrated Roe without her

consent on the night     of Saturday, October 18,2014, at his residence.

          84.       Killheffer purported to bring this complaint pursuant to Section     1   of the UWC

Procedures, which allows a Title IX Coordinator to bring a complaint "when there is evidence

that the University's policies on sexual misconduct have been violated and the Coordinator's

intervention is needed to ensure that the matter reaches the UWC." (See Exhibit               )

          85.       As set forth above, however, Yale's policies contemplate that a Coordinator's

intervention is "needed" only in obnusual circumstances . . . involving risks to the safety of




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individuals and/or the community," in which case the informal complaint process is insufficient

to address the severity of the situation. (See Exhibit 6.)

          86.       No such circumstance existed here.

          87.       On November 30, 2015, Aley Menon, UV/C Secretary, notified Montague that he

was the subject of a complaint alleging that he had "sexually assaulted a Yale College student on

the night of October 18,2014, at [his] residencef.]" The letter referred Montague to Killheffer's

complaint; the only additional information contained in that letter was the name of Montague's

accuser and the fact that she was alleging sexual penetration without consent.

          88.       In the letter, Menon noted that in reviewing the facts during the formal complaint

process, the UWC may consider other violations of the sexual misconduct policy'othat relate to

the complaint."

          89.       Because of the nature of the UV/C I proceedings, Montague had no reason to

believe they "relate[d] to the complaint" of sexual assault in any way.

          90.       Menon also informed Montague that he had only five days to provide a written

response to the complaint and "encouragefd]" him to choose an advisor to "support [him]

throughout this process," but warned that the advisor was not permitted to submit any documents

or speak during Montague's fact-finding interview or the hearing.

          91.       Montague later met with Defendant Gleason, who said that she was unable to

provide him with any additional information about the complaint because it was confidential, and

further, that he would not be able to get more information before or during his upcoming

interview with the fact-finder.




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          92.       Montague submitted a written response denying the allegations against him and

stating that all interactions between himself and Roe were consensual. This was all he could say

at the time, as Yale gave     him no notice of the specifics of Roe's complaint.

                                            The Investisation

          93.       In accordance with the UWC Procedures, Yale appointed an impartial fact-finder

to "gather documents and conduct interviews as necessary to reach a thorough understanding of

the facts and circumstances surrounding the allegations of the complaint." (See Exhibit 2.)

          94.       The undisputed facts are as follows:

                    94a.   Roe and Montague hrst met at a party in early September , 2014, at which

                           time they engaged in consensual sexual activity (but not intercourse). Roe

                           joined Montague in his bed and spent the night with him.

                    94b.   Roe and Montague continued to communicate with each other and, a week

                           or two after their first encounter, they met again and had consensual sex

                           (but not intercourse). Roe again spent the night with Montague.

                    94c.   On September 24,2014, Roe voluntarily accompanied Montague to his

                                         o'both parties
                           bedroom where                undressed" and kissed in Montague's bed.

                           Roe and Montague then had consensual sexual intercourse, and Roe spent

                           the night with Montague.

                    94d.   On October 18,2014, Roe went to a party at Montague's house, where

                           Roe and Montague engaged in consensual sexual contact (not including

                           intercourse) outside the house in Montague's car.

                    94e.   The two moved to Montague's bedroom, where they voluntarily removed

                           all of their clothing and began engaging in consensual sexual activity.


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                    94f.   Roe and Montague then had sexual intercourse         -   the subject of the UWC

                           II complaint -   and Roe ultimately spent the night at Montague's house.

                    949.   Several days later Roe contacted Montague and the two met on October

                           28,2014, at which time Roe expressed regret about the sexual intercourse

                           on October 18. Montague told her he was sorry she felt that way, and he

                           agreed not to pursue her in the future.

         95         Roe provided the following additional details to the fact-finder:

                    95a.   During Roe's first two sexual encounters with Montague he inquired

                           whether she wanted to have sexual intercourse, and she said "no."

                           Montague "respected her decision and did not push her."

                    95b.   During Roe's third sexual encounter with Montague on September 24,

                           2014, she afhrmatively, verbally consented to sexual intercourse after both

                           parties undressed and were in bed kissing.

                    95c.   Roe claimed that on the evening of October 18,2014, while she and

                           Montague were kissing each other outside his house and in his car, she

                           told him she wanted to "hook up" but not "have sex."

                    95d.   Roe and Montague eventually got out of his car and went inside his house

                           in order to go up to Montague's room. Roe led the way.

                    95e.   V/hen they arrived in the bedroom, they both took off all of their clothes

                           and got into bed, where they resumed kissing and touching.

                    95f.   Roe said that once they undressed and began engaging in consensual

                                       oothere
                           foreplay,             was no further discussion about the boundaries of their

                           sexual consent."


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                    -'é'
                    Q5o     Montague kissed Roe and touched her genitals, and Roe had no objection.

                            Indeed, Roe told the fact-finder she "indicated her consent by kissing

                            [Montague,] touching his body . . . and by not tensing up."

                    95h.    Montague then got on top of Roe in order to engage in sexual intercourse.

                    95i.    Roe said that at that point she 'oput her hands up, pressed them against the

                            front of Mr. Montague's shoulders and pushed him, but not very

                            forcefully" (emphasis added).

                    e5j.    According to Roe, she also said, "no, I said I wanted to hook up but not

                            have sex." Roe explained to the fact-finder, however, that Montague

                            looked "as if he did not hear what she was saying" (emphasis added).

                    9sk.    Montague   - having apparently   not heard Roe's purported statement   -
                            penetrated Roe; Roe made no further attempts to stop the sexual

                            intercourse.

                    951.    Roe left Montague's house after the encounter, but later called him and

                            met up with him again in the early morning hours of October 19.

                     95m.   Roe accompanied Montague back to his house, where she spent the rest       of

                            the night. Roe recalled that their conversation on the way back to

                            Montague's house was "normal and flirty."

                     95n.   When they got back to Montague's room, Roe voluntarily got into bed

                            with Montague. Roe told the fact-finder that Montague attempted to

                            initiate sexual contact again, but Roe declined. Montague "did not object,"

                            and they both went to sleep.




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        96.      Mr. Montague's recollection of his relationship with Roe prior to October 18,

2014, was largely consistent with Roe's account. He provided the fact-finder with the following

additional details:

                 96a.    As to the events of October 18, Montague told the fact-finder he had four

                         to seven drinks of alcohol over a period of several hours that night. He

                         recalled kissing Roe outside and then in his truck, and inviting her inside

                         to go to his bedroom.

                 96b.    Montague's recollection was that Roe consented to all of their sexual

                         activity that night.

                  96c.   Nothing about the encounter made Montague think Roe was hesitant or

                         uncomfortable. Montague remembered changing positions during

                         intercourse, and said Roe did not object. (Roe, for her part, did not deny

                         the two changed positions   -   she simply did not remember.)

                  96d.   Roe then spent the night with him, as she had during their previous sexual

                         encounters.

                  96e.   Montague told the fact-finder Roe never told him she wanted to "hook up

                         but not have sex," nor did Roe put her hands on his shoulders and push

                         him as they began to have intercourse.

                  96f.   The fact-finder asked Montague about Roe's account that she left the

                         house after having intercourse with Montague and later returned;

                         Montague did not deny this had occurred, but did not remember it.

         97.      The fact-finder never asked Montague about the UV/C I proceedings.




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         98.       The fact-finder also interviewed five of Roe's friends            -   Jessica Johnson, Nancy

Nelson, Carol Conrad, Kathleen Klein,a and Rachel Rogers                 -   with whom Roe had discussed the

October 18 sexual encounter.

         99.       Johnson, Nelson, Klein, and Rogers all told the fact-finder that Roe told

Montague, when the two were in his bedroom, that she did not want to "have sex."

         100.      Roe did not tell her friends that she voluntarily removed all of her clothing, got in

bed with Montague, and consented to myriad sexual acts.

         101.      Further, neither Johnson, Nelson, Klein, nor Rogers said that Roe told them she

had made any previous statements to Montague that night indicating she wanted to "hook up"

with Montague but did not want to "have sex."

         102.      Roe had previously told Rogers that she had no romantic feelings for Montague,

however; their relationship was purely sexual.

         103.      Conrad told a somewhat different story to the fact-finder than what was reported

by Roe's other friends. Conrad said Roe told Montague they could "hang out" but not have

intercourse, and that Montague o'pushed her to agree to sex." According to Conrad, Roe said

"no" but Montague proceeded anyway.

          104.     Conrad's account is not consistent with Roe's; Roe never said Montague "pushed

her to agree to have sex."

          105.     The fact-finder interviewed Defendant Gleason as well. Gleason recalled that

when Roe first came to her, she told Roe that one option was to sit down with Montague, tell him

there was a complaint against him, and suggest he participate in training to make sure he



a
  These are pseudonyms being used to protect these students' privacy. Except where the student has chosen to reveal
his/her identity in the press, this complaint will identif,i other students through use of pseudonyms in order to protect
their privacy.

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understood the University's consent policy. According to Gleason, she then told Roe she would

"have to check to see if Mr. Montague was known to the Title IX Coordinators and would

consult with other Coordinators in order to determine whether it was appropriate to address this

incident with additional training."

         106.     Gleason told the fact-hnder that after consulting with the other Title   IX

Coordinators, she learned Montague had already participated in a semester of "sensitivity

training" and so it "did not make sense to ask him to repeat that intervention."

         T07.     Gleason thereafter reported back to Roe and implied Montague had already

received training on consent, and suggested the situation was serious enough to warrant a formal

complaint.

         108.     Gleason told Roe thata Title   IX Coordinator could bring the complaint if    Roe was

willing to participate   as a witness. Roe agreed to cooperate on that basis.

 .       109.     The fact-finder prepared a report summarizing her interviews and submitted the

report to the UWC hearing panel. The report did not include any factual findings about or

references to the UV/C I proceedings. None of the witnesses' interviews with the fact-finder

were recorded by either audio or visual means.

         110.     Per the UWC Procedurer, on or about January 15,2016, Montague received a

final draft of the fact-finder's report. This was the first time he was informed of the details of

Roe's claims.

                                      The UWC     II   Panel Hearine

         111.     Mr. Montague's UWC II hearing was held on January 21,2016. The only

assistance Montague had during the hearing came from Montague's adviser, Yale basketball

coach James Jones.



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          lI2.   Roe participated in the hearing and was accompanied by an adviser from the

SHARE Center. Roe prepared a lengthy written opening statement in advance of the hearing. On

information and belief, Roe's SHARE Center adviser was aware of this practice and encouraged

Roe to prepare the statement.

          113.   Unlike Roe's adviser, Coach Jones was unaware of the practice of preparing

opening statements for UV/C hearings, and no one from Yale informed Montague that he should

prepare an opening statement. Montague therefore did not prepare or read one at the hearing.

          ll4.   As he had throughout the proceedings, Montague expressed to the panel his

confusion about Roe's complaint; as he understood it, all of his interactions with Roe had been

consensual.

          115.    The panel hearing was not recorded by audio or visual means.

                                              The Panel's Report

          116.    The panel issued its report on February 1,2016.

          ll7.    The panel confirmed in its report that Roe "agreed to participate in the UWC

investigation only after she leamed that Mr. Montague had already received training" (emphasis

added).

          118.    The panel accepted the undisputed facts in the fact-hnder's report, and reviewed

the evidence presented by the fact-finder in her report, as well as the evidence gathered at the

hearing, to determine whether Montague engaged in nonconsensual sexual intercourse with Roe

in violation of the University's Sexual Misconduct Policies.

          119.    The panel's factual findings largely mirror the facts as set forth in the fact-finder's

report. These findings, when construed consistently with the undisputed evidence, are inadequate




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to support a conclusion that Montague violated Yale's Sexual Misconduct Policies by engaging

in nonconsensual sexual intercourse with Roe.

         I20.      Specifically, the panel's findings make clear that whatever Roe might have said to

Montague about the limits of her consent prior to willingly accompanying him to his bedroom,

and whatever she might have communicated about not wanting to 'ohave sex," once she got to

Montague's bedroom she clearly changed her mind.

         l2l.     As the fact-finder was careful to ascertain, Roe affirmatively and unequivocally

communicated to Montague, by her conduct,that she consented to "sex."

         122.     To Montague, Roe's conduct on October 18 was not objectively different than it

was during their previous sexual encounters, including the encounter on September 24 when Roe

removed all of her clothing, voluntarily joined Montague in his bed, and voluntarily engaged in

sexual foreplay and sexual intercourse.

         I23.     Roe had an absolute right to revoke her consent to sex at any time, but that

revocation of consent had to be communicated to Mr. Montague.

         124. The revocation      of consent   -   like the giving of consent   -   must be clear.

         125.      The panel made no finding that Roe clearly revoked her consent to sex.

         126.      For example, while the panel apparently credited Roe's account that when

Montague got on top of her as if to penetrate her she put her hands up and pressed them against

his shoulders, the uncontroverted evidence is that she did so in a marìner that was'onot very

forceful[]."

         127.      Putting one's hands on a sexual partner's shoulders and gently pressing on them

during the course ofa sexual act cannot reasonably be construed as conduct clearly indicating

revocation ofconsent to sex.


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         I28.      Montague's view that Roe "didnotpush him away immediately before

intercourse" is thus consistent with a rational interpretation of Roe's actions in placing her hands

on his shoulders and gently pressing on them as the two were about to have what he believed to

be consensual intercourse.

          129.     In addition, the panel did not find that Roe's purported verbal revocation of

consent -'ono,     I said I wanted to hook up but not     have sex"   -   was   audible.lnfact, Roe herself

confirmed that she did not think Montague heard her.

          130.     Montague's testimony that Roe did not tell him, during the course of the

encounter, that she did not want to "have sex" is thus entirely consistent with Roe's account that

Montague appeared not to "hear what she was saying."

          131.     By all indications, then, Roe communicated to Montague, and Montague

reasonably believed, that he had Roe's consent to engage in sex based on the fact that Roe led

Montague to his bedroom, voluntarily removed all of her clothing and voluntarily engaged in

sexual acts with him.

          132. Mr. Montague         had no reason to believe Roe ever revoked that consent because he

never heard Roe express that she did not wish to continue.

          133.     In fact, by all accounts, Montague repeatedly demonstrated that when Roe said,

and Montague heard and understood Roe to be saying,that she did not want to have sexual

intercourse, he could     -   and did   -   comply with her wishes.

          134.      Specifically, Roe told the fact-finder that in her earlier encounters with Montague,

when Roe said she did not want to have sex, Montague "respected her decision and did not push

her." Likewise, when Roe returned to Montague's room and got into bed with him in the early




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morning hours of October 19 and rebuffed his attempts to re-initiate sexual contact, Montague

again readily respected her wishes.

          135.    The panel also made credibility determinations without properly considering the

evidence presented.

          136.    The panel explicitly credited Roe's account because Roe seemed able to

remember the incident very clearly; indeed, the panel found, "there is no evidence [Roe] was

intoxicated or otherwise impaired in any way that would have affected her recollection of the

night."

          I37.    By contrast, the panel did not find Mr. Montague credible "because of his

selective memory . . . and his shifting recollection of how he gauged consent."

          138.    In so finding, the panel completely ignored the clear evidence that Montagve was

impaired to some degree, which would account for his failure to remember the events of October

18   with crystal clarity: Montague admitted to having four to seven alcoholic drinks in the space

ofjust a few hours, although          he said he was not intoxicated.

          139.    Furthermore, it was not until just before the UWC hearing       -   when he received the

fact-finder's report      -   that Montague finally understood the extent of Roe's claims. This also

accounts for any differences in his memory between the time of his interview and the panel

hearing.

          140.     Yale's failure to give Montague proper notice of Roe's claims disadvantaged him

at his interview       with the fact-finder because he was asked to respond to those claims without

knowing or being able to reflect upon any of the detailed allegations. Once he learned the details

and was able to search his memory, however, he testified to a broader recollection of those

events at the hearing.



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         l4t.     At the conclusion of its report, the panel stated that in accordance with Section 7.4

of the UWC Procedures it had taken "into account Mr. Montague's previous formal disciplinary

history with the UWC for violating Yale's sexual misconduct policy . . . ." The panel may,

consistent with SectionT.4 qnd as part of the UWC hearing process, choose to take account         of

prior UV/C proceedings in assessing culpability. (See Exhibit 2.)

         I42.     On information and belief, the UV/C Secretary made an ex parte submission to

the panel detailing the UV/C I proceedings.

         143.     The panel never addressed the UV/C I proceedings in Montague's presence. It did

not ask Montague any questions about the UV/C I proceedings, nor did allow him to explain

what had occurred or to point out that what he did to Smith was not in any way "related to" nor

probative of whether he committed the alleged sexual assault of Roe.

         144.     Montague was entitled to be present during the presentation of all evidence the

panel took into account on the issue of culpability, including the presentation of evidence related

to the UV/C I proceeding, and he was entitled to present relevant or countervailing evidence if he

so chose.

         145.     Montague was deprived of this opportunity. Had he been given the opportunity,

he could have argued that the conclusion of the UWC I proceedings was erroneous, and further,

that the UWC I proceedings bore no relationship to Roe's allegations, beyond the basic fact that

both proceedings involved female complainants.

         146.      The panel ultimately concluded, by a preponderance of evidence, that Mr.

Montague sexually assaulted Roe in violation of Yale's Sexual Misconduct Policies.




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           147. Per Yale's 2015 UWC Procedures,         Montague was informed, on or about February

I,2016, of the panel's findings of fact and conclusion, but not of   its recommended   disciplinary

action. (See Exhibit 2.)

           148.   This represented a substantial change in Yale's procedure. The prior version of

the     UllC Procedures - in effect from 2013 until they were revised in 2015 - provided that both

parties would be notified of the panel's findings of fact, conclusions, and reconìmended penalty,

and would be given the opportunity to submit a written response addressing the panel's report in


full.
           149. Because of Yale's    unilateral change in its procedure, Montague had no

opportunity to respond to or challenge the panel's disciplinary reconìmendation.

           150.    On February 2,2016, Roe wrote to Yale College Dean Jonathan Holloway

expressing her full support of the panel's conclusion. Roe reiterated that the motivation for the

formal complaint was "to keep this campus safe," and urged Holloway to consider that

Montague "has had additional opportunities to be trained on subjects related to consent and

sensitivity."

           151.    In reality, of course, Montague had received no training on "consent." On

information and belief, Roe made this statement based on Defendant Gleason's false and

misleading representations to her that Montague had been the subject of a prior sexual assault

complaint and had already received training relevant to that complaint.

                The Universitv Expels Mr. Montasue. Eiects Him from the Campus.
                                   and Destrovs His Reputation

           I52.    On February 10,2016, Dean Holloway wrote to Mr. Montague and informed

Montague that, as Dean, he accepted the panel's conclusion that Montague sexually assaulted




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Roe and that he had determined "the appropriate penalty is expulsion, the penalty also

recommended by the panel that heard this complaint."

         153.      In making his decision, Holloway expressly considered the nature of the behavior

                                                                         oothe
in question; Montague's prior disciplinary history at the UWC; and               extensive training"

Montague "already received from the SHARE Center"           - training that, according   to Holloway,

"did not have the hoped for impact on [Montague's] behavior." Holloway concluded that in light

of Montague's "inability to learn from [his] past mistakes," "permanent separation from Yale is

the only appropriate penalty."

         154.      Montague's expulsion was contrary to Yale's own suggested sanction for similar

(hypothetical) conduct.

         155.      Yale's "Sexual Misconduct Scenarios," developed and disseminated in response

to critics who charged that all nonconsensual sex is "sexual assault" and warrants expulsion in

every instance, includes the following scenario:

         Morgan and Kai are friends who begin dancing and kissing at aparty. They are
         both drunk, although not to the point of incapacitation. Together they decide to go
         to Kai's room. They undress each other and begin touching each other. Morgan
         moves as if to engage in oral sex and looks up at Kai questioningly. Kai nods in
         agreement and Morgan proceeds. Subsequently, without pausing to check for
         further agreement, Kai begins to perform oral sex on Morgan. Morgan lies still for
         a few minutes, then moves away, saying it is late and they should sleep.

(See   Exhibit 3.)

          156.     In this scenario, Yale said, "There was initial agreement, but the bounds of that

agreement were not clear. Kai may have thought that Morgan had consented to reciprocal sex,

but took no steps to obtain unambiguous agreement." Under these circumstances, "[t]he UWC

penalty would likely be a reprimand."




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         I57.             This scenario is comparable to the October 18 encounter between Roe and

Montague, where it is undisputed that "[t]here was initial agreement" to engage in sexual acts,

Montague thought Roe consented to sexual intercourse (though he took no steps to obtain

additional consent), and Roe did not clearly and unambiguously revoke her initial consent. (In

the present case, however, both Roe and Montague mutually consented to sexual activity; in

Yale's hypothetical scenario, although Morgan obtained consent from Kai, Kai never obtained

consent from Morgan.)

          158.            Given that the penalty Yale itself recommended under very similar circumstances

was a reprimand, the only rational explanation for Dean Holloway's decision to expel Montague

is Dean Holloway's unwarranted reliance on the UWC I proceedings.

          159.            As set forth above, however, the UV/C I proceedings were contrary to Yale's

Sexual Misconduct Policies. Had Montague had an opportunity to challenge the proposed

sanction, he could have argued that in light of the fundamental differences between the UWC I

and UV/C          II proceedings, it could not at all be said that "permanent separation from Yale is the

only appropriate penalty."

          160.            Additionally, on information and belief and consistent with Section 7.5 of the

UWC Procedures, at the close of the panel hearing UV/C Secretary Menon "inform[ed] the panel

about the nature of previous penalties assessed for similar violations." (See Exhibit 2.)

          1   6   1   .   Yale's history of imposing penalties for nonconsensual sex demonstrates that in

almost all cases the sanction for such conduct is something less than expulsion. Indeed, prior to

Montague's expulsion, Yale had expelled only three other students between July 1, 2011, and

June 30, 2015, for nonconsensual sexual conduct, demonstrating that              it is an extreme sanction

imposed in only the most serious circumstances.


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          162.      The following is a summary of the relevant UV/C disciplinary actions during that

time period:

               a    UV/C found sufficient evidence that two male students engaged in nonconsensual

                    sex with a female student; the respondents were given written reprimands and

                    measures were taken to    limit contact between the parties (January 1,2012 through

                    June 30, 2012);

               a    UV/C found sufficient evidence that two male students engaged in nonconsensual

                    sex with a female student; the respondents were given written reprimands and

                    measures were taken to    limit the contact of the parties (January 1,2013 through

                    June 30, 2013);

               a    UWC found suffrcient evidence that a male student had nonconsensual sex with         a


                    female student; the respondent was given a written reprimand (January 1,2013

                    through June 30, 2013);

                    UWC found sufficient evidence that a male student, in the context of an intimate

                    relationship, engaged in certain nonconsensual acts with a female student during

                    otherwise consensual sexual activity; the respondent was given a written

                    reprimand; restricted from contacting the complainant; required to attend gender

                    sensitivity training; and encouraged to seek counseling (January 1,2013 through

                    June 30, 2013);

               a    UWC found sufficient evidence that a male student, in the context of an intimate

                    relationship, engaged in certain nonconsensual acts with a female student during

                    otherwise consensual sexual activitv; the respondent was placed on probation for




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                  the remainder of his time at Yale and a number of measures were taken to restrict

                  him from contacting the complainant (January I,2013 through June 30,2013);

             a    UV/C found sufficient evidence that a male student had nonconsensual sex with         a


                  female student and violated the Yale College Code of General Conduct; the

                  respondent was given a two-semester suspension; placed on probation for the

                  remainder of his time at the university; restricted from contacting the

                  complainant; and encouraged to continue counseling for alcohol abuse,

                  appropriate sexual behavior, and the respectful treatment of others (January 1,

                  2013 through June 30,20T3);

             a    UV/C found suffrcient evidence that a male student engaged in sexual intercourse

                  with   a   female student without her consent; the respondent was expelled (January

                   1,2014 through June 30, 2014) (this expulsion occurred in the wake of the student

                  and alumni protests spurred by the previous Spangler Report, in which the groups

                  decried what they viewed as the University's weak penalties for sexual assault);

              a   After the complainant decided not to pursue formal action, a Title IX Coordinator

                  brought a formal complaint to the UWC, and the UWC found sufficient evidence

                   that amale student engaged in sexual intercourse with a female student without

                  her consent; the respondent was expelled (January I,2014 through June 30, 2014)

                  (this expulsion likewise occurred in the wake of the student and alumni protests

                   spurred by the previous Spangler Report);

              a   UWC found sufficient evidence that amale student engaged in certain acts with         a


                   female student without her consent during otherwise consensual sexual activity;




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                    the respondent was given a written reprimand and required to received sexual

                    consent training (January   I,2014 through June 30, 201$;

               a    UWC found sufficient evidence that a male student engaged in sexual intercourse

                    with a female student without her consent; the respondent was suspended through

                    the summer of 2014; restricted from participating in certain campus activities; and

                    his degree was withheld until May of 2015 (January 1,2014 through June 30,

                    2014);

               o    UWC found sufficient evidence that amale student engaged in touching of a

                    sexual nature and other sexual activities without a female student's consent; the

                    respondent was suspended through the summer of 2015; restricted from

                    contacting the complainant; and required to receive training on sexual consent and

                    alcohol consumption (January t,2014 through June 30, 2ü4);

               a    UV/C found sufficient evidence that a male student engaged in sexual intercourse

                    with a female student without her consent; the respondent was placed on

                    probation for the remainder of his time at Yale (July I,2014 through December

                    3t,2014);

                    UV/C found sufficient evidence that a male student engaged in sexual intercourse

                    and other sexual acts   with a female student without her consent; the respondent

                    was expelled (July 1, 2014 through December 31,2014)

               a    UWC found sufficient evidence that a student engaged in sexual penetration of

                    another student without consent; the respondent was suspended for six months

                    and referred for training on sexual consent (January   1,20t5 through June 30,




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                    2015) (Yale stopped reporting the gender of complainants and respondents as of

                    January 1,2015);"

               o    UWC found suffrcient evidence thaf a student engaged in sexual activity with

                    another student without consent; the respondent was reprimanded; restricted from

                    participating in certain campus activities; and referred for training on sexual

                    consent (January 1,2015 through June 30, 2015);

               o    UWC found sufficient evidence that a student engaged in sexual harassment and

                    sexual penetration of another student without consent; the respondent was placed

                    on   @ien     and received a written reprimand (January 1,2015 through June 30,

                    20ts).

          163.      Based on the "previous penalties assessed for similar violations," then, the panel's

decision to recommend expulsion in Montague's case was unsupported and unwarranted.

          164.      On information and belief, Yale targeted and ultimately expelled Mr. Montague in

order to make a public example of a prominent male ltgure on campus and demonstrate that,

contrary to the opinions of Yale's internal and external critics, the University is indeed tough on

men who "victimize" female students.

          165. Montague appealed the decision to the Provost, but his appeal was summarily
denied.

          166.      As a result of his expulsion, Montague was required to leave campus and abandon

his beloved basketball team just as they were set to play in the first round of the NCAA

Tournament, afeat the Yale men's team had not achieved since 1962.




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        167.       On February 26,2016, Montague's teammates            -   in a gesture of support for their

expelled captain        -   wore t-shirts sporting Montague's nickname and jersey number during warrn-

ups for a nationally-televised game.

        168.       The backlash was vicious. Three days later, posters appeared on Yale's campus

featuring photos of the team in their symbolic t-shirts and the words, "stop supporting a rapist."

         169.      After those posters were removed,      a   new set of posters appeared just two days

later, declaring: "Rape culture is standing by your teammate and silencing Yale's victims              of

sexual assault."

         170.      The Yale Women's Center also posted a message on Facebook later that evening

that a "high-profile member of a sports team in the midst of a pivotal moment in the season"                lef[

campus because of sexual misconduct. There was no mistaking who that "high profile member

of a sports team" was, that Yale itself had publicly announced on February 24, after Montague

had missed a series of games earlier that month, that he would not return to the team.

         l7l.      The basketball team was forced to apologize publicly for "the hurt" the team

caused to other students by supporting their former captain and teammate and to reiterate the

team's commitment to a "healtþ, safe and respectful campus climate where all students can

flourish."

         172.      Mr. Montague has been deeply and irreparably harmed by the defendants' actions

He was wrongfully deprived of the degree he worked so hard to obtain (while at the same time

devoting hundreds of hours to training, practice and playing to support and lead Yale's men's

varsity basketball team); indeed, he was just four months shy of receiving that degree when he

was expelled. His expulsion from Yale on grounds of 'osexual misconduct" will follow him

throughout his life and will prevent him from obtaining a comparable college degree. The


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defendants' wrongful actions also deprived Montague of his dream of playing in the NCAA

tournament (a tournament for which the Yale team might not have qualified without his

leadership and skill); it is an opportunity he will never have again. Finally, he was publicly

vilified: his name and reputation will now forever be associated with the words o'sexual assault."

For these injuries, even monetary damages cannot make him whole.

                                             Count I
                         Breach of Contract, UWC I (Lack of Jurisdiction)
                                       (v. Yale Universitv)

         173. Plaintiff restates each of the foregoing paragraphs as if fully restated herein.
         174.     Montague applied to and enrolled in the University and, with the assistance    of

defendant Yale University and his parents, paid associated fees and expenses. Montague did so

in reliance on the understanding and with the reasonable expectation that the University would

implement and enforce the provisions and policies set forth in its offrcial publications, including

the UWC Procedures,the Sexual Misconduct Policies, and the Yale College Undergraduate

Regulations, as well as all supporting and explanatory documents produced, published, and/or

disseminated by the University, whether cited in this complaint or not.

         175. An express contract      or, alternatively, a contract implied in law or in fact was

formed between Montague and the University.

         176. The contract      contained an implied covenant of good faith and fair dealing. It

implicitly guaranteed that any proceedings would be conducted with basic fairness.

         177.      Pursuant to the UWC Procedures and the Yale College Undergrøduate

Regulations, the UWC has jurisdiction only over matters involving sexual misconduct.

         I78.      Because the incident involving Sally Smith was not, even on its face, a matter     of

sexual misconduct, the UWC lacked jurisdiction.


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         179. The University's decision to pursue the matter through         the UV/C was a violation

of its own procedures and policies, and a breach of the covenant of good faith and fair dealing.

         180.      As a direct and foreseeable result of this breach, the plaintiff has suffered, and

will continue to suffer, a multitude of injuries. V/ithout limitation,     he was wrongly found and

held responsible for "sexual harassment," and from this finding flowed extreme consequences,

culminating in his expulsion from Yale. As a result, his academic and employment prospects              -
indeed, his entire future prospects    - have been materially   and drastically limited.

                                              Count II
                    Breach of Contract. U\ilC I llnadequate Evidence to Support
                                  Findins of Sexual Harassment)
                                        (v. Yale Universitvl

         181   .   Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         182.      Under University policies, a student formally charged with sexual misconduct is

entitled to a hearing before a panel of the UWC and may be found to have violated University

policy only if the panel finds facts by    a preponderance   of the evidence presented at the hearing

that the student committed an act or acts constituting an offense defined as sexual misconduct

under said policies. The panel is not authorized to consider as evidence of culpability any matter

that is not presented at the hearing in the presence of the parties, who would then have an

opportunity to respond.

          183.     The Sexual Misconduct Policies define sexual harassment as "nonconsensual . .            .




conduct ofa sexual nature on or offcampus, when . . . such conduct has the pu{pose or effect            of

unreasonably interfering with an individual's work or academic performance or creating an

intimidating or hostile academic or work environment. Sexual harassment may be found in a

single episode, as well as in persistent behavior." (See Exhibit       )



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        184.     The UWC I panel did not find, and could not have found, that Montague's

conduct towards Sally Smith was "conduct of a sexual nature," nor did it find the conduct had

"the purpose or effect of unreasonably interfering with [Smith's] work or academic performance

or creating an intimidating or hostile academic or work environmenf." (See Exhibit 1.)

        185.     The panel's finding that plaintiff "sexually harassed" Smith was contrary to the

plain language of the University's Sexual Misconduct Policies, and thus a breach the same, as

well as a breach of the covenant of good faith and fair dealing.

        186.     The frnding should not have been made, recorded, or used in any way against

Montague in making any subsequent disciplinary decisions affecting Montague during the

remaining course of his college career at Yale.

        187.     As a direct and foreseeable result of this breach, the plaintiff has suffered, and

will continue to suffer, a multitude of injuries. V/ithout limitation,         he was wrongly found and

held responsible for "sexual harassment," and from that finding flowed extreme consequences,

culminating in his expulsion from Yale. As a result, his academic and employment prospects            -
indeed, his entire future prospects    -   have been materially and drastically limited.

                                                    Count       III
                                  20   u.s.c.   I   1681              IXI.IIWC I
                                             (v. Yale Universitv)

         188.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         189.     Title IX prohibits discrimination on the basis of sex in a school's "education

program or activity," which includes all of the school's operations. 20 U.S.C. $$ 1681(a),1687

The University receives federal funds and must comply with Title IX.

         190.     A victim of discrimination based on his or her gender has, under Title IX, a

private right of action against the offending school for monetary damages and equitable relief.


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         191.       As set forth above, the University engaged in a series of actions that ultimately

resulted in the UV/C I panel's effoneous finding that Montague violated Yale's Sexual

Misconduct Polices in the form of "sexual harassment" of Sally Smith.

          192.      These actions, and the panel's ultimate finding, were a product of disparate

treatment of Montague based on his gender.

          I93.      As set forth above, the UWC lacked jurisdiction over matter because it did not

involve "sexual misconduct," as Yale's own policies define it.

          194.      For the same reason, the panel's finding of "sexual misconduct" in the form of

"sexual harassment" was elloneous because, under Yale's own policies, the conduct was neither

"conduct of a sexual nature" nor conduct that created a hostile environment for Smith.

          I95.      The University's decision to pursue the matter under the auspices of the UWC,

and the panel's ultimate finding, were motivated by gender bias.

          196. On information        and belief, had the perpetrator been a woman, Yale would not

have considered the matter a UV/C matter, nor would          it have found "sexual harassment."

          197.      Montague, based solely on his gender, suffered an erroneous outcome of the

UWC I proceedings. This unlawful discrimination by the University in violation of Title IX

proximately caused Montague to sustain substantial injury, damage, and loss, including, but not

limited to: mental anguish; severe emotional distress; injury to reputation; past and future

economic loss; deprivations of due process; loss of educational opportunities; and loss of future

employment prospects.

                                               Count IV
                         Breach of Contract. U'WC II: Breach of Confidentialitv
                                          (v. Yale Universitv)

          198.      Plaintiff restates each of the foregoing paragraphs as if fully restated heretn.


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          199.     Both Yale's UWC Procedures and the Provost's Ststement on Confidentiality             of

UWC Proceedings'oimpose strict and unequivocal confidentiality obligations regarding

documents prepared by, prepared for, or received from the UV/C in connection with a UWC

proceeding." (See Exhibit 2; Exhibi       5   ) These documents (and by necessary implication, their

contents) may not be disclosed to anyone who was not a party to the UV/C proceeding (other

than the parties' advisers, family members, and attomeys).

          200.     In direct contravention of this policy and in breach of the clear confidentiality

requirements set forth in Yale's contract with Montague, as well as in breach of the covenant            of

good faith and fair dealing, Defendant Gleason, acting as a Deputy Title IX Coordinator on

behalf of Yale, disclosed to Roe the fact and substance of the UV/C I proceedings.

          20I.     As a direct and foreseeable result of the individual defendant's wrongful conduct,

the   plaintiff has suffered, and will continue to suffer, multiple forms of damage,    as set   forth

above. Without limitation, the defendants' wrongful conduct was one of the primary reasons Roe

agreed to participate in the formal complaint process against Montague. That process, and the

resulting discipline, caused Montague to suffer substantial and irreparable injury, damages, and

loss.

                                                Count V
                                              Defamation
                                    (v. Yale Universitv and Gleasonl

          202.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

          203.     On November 6,2015, Defendant Gleason falsely informed Roe, either directly or

by implication, that Montague had been the subject of a previous complaint of sexual assault;

that he had been found responsible for sexual assault by the UWC; and that he had been required

to participate in training concerning sexual relationships and sexual consent.


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        204.      These statements were false and defamatory per se, and caused Roe to believe she

                                                                           ooone-time
had to engage in the formal complaint process because this was not a                    mistake" orì

Montague's part, Roe consequently felt duty-bound "to protect other women" from him.

        205.      These false and defamatory statements were, in fact, the genesis of the formal

UWC II proceedings against Montague.

        206.      Gleason made these statements to Roe negligently or in knowing or reckless

disregard of the truth.

         207.     As a direct and foreseeable result of these false and defamatory statements, the

plaintiff has suffered, and will continue to suffer, grave reputational and economic injury,      as set


forth above.

                                              Count VI
                 Invasion of Privacv (Violation of Confidentiality and False Lieht)
                                  (v. Yale Universitv and Gleason)

         208.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         209.     On November 6, 2015, Defendant Gleason falsely informed Roe, either directly or

by implication, that Montague had been the subject of a previous complaint of sexual assault;

that he had been found responsible for sexual assault by the UWC; and that he had been required

to undergo training concerning sexual relationships and sexual consent.

         210.     Gleason was prohibited by Yale's policies and procedures from disclosing this

information to Roe, and her disclosure was a violation of Montague's right to privacy, to wit,his

right to have the information kept confidential.

         2ll.      Gleason's statements to Roe were also untrue. Montague had never before been

the subject of a complaint of sexual assault, nor had he ever before been required to participate in

training concerning sexual relationships or sexual consent.


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        212.       These statements were a major misrepresentation of Montague's character,

history, and activities.

        2I3.       The false light in which Gleason placed Montague would be highly offensive to a

reasonable person.

        214.       Gleason knew or acted in reckless disregard of the falsity of her statements to Roe

and the false light in which they would place Montague.

        2I5.        As a direct and foreseeable result of the false light in which Gleason placed

Montague to Roe, Montague experienced, and continues to experience, emotional and mental

suffering.

                                             Count VII
                   Breach of Contract. UWC II: Breach of Procedure for Title               IX
                                Coordinator-Initiated Complaints
                                        (v. Yale Universitv)

         216.      Plaintiff restates each of the foregoing as if fully restated herein.

         217.      Yale's policies and procedures make it clear that Title IX Coordinators may

initiate formal complaint proceedings only in "unusual circumstances . . . involving risks to the

safety of individuals and/or the community." (See Exhibit 6.)

         2I8.      The circumstances reported to Yale by Roe did not in any way involve a risk to

Roe's safety or to the safety of the community.

         219.      Defendant Killheffer, acting as a Senior Deputy Title IX Coordinator on behalf      of

Yale, lacked the authority under Yale's policies to bring a formal complaint against Montague.

The decision to pursue the formal complaint, despite lacking such authority, was a breach         of

Yale's policies and procedures, and a breach of the covenant of good faith and fair dealing.

         220.       As a direct and foreseeable result of defendants' wrongful conduct, Montague

suffered, and     will continue to suffer, a multitude of injuries   and damages. Without limitation, he

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was subjected to a formal complaint process rather than the informal one Roe initially and

affirmatively desired, and this formal complaint process culminated in his expulsion from Yale.

As a result, his academic and employment prospects          -   indeed, his entire future prospects   - have
been drastically and materially limited, and he has suffered serious emotional and mental injury.

                                                Count VIII
                                  Tortious  Interference With Contract
                                       (v. Gleason and Killheffer)

          221.      Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         222.       Defendant Gleason, Defendant Killheffer, and others unknown were aware of the

contractual relationship between plaintiff and Yale as set out above, which encompassed the

obligations of each under Yale's UWC Procedures.

         223.       Gleason, Killheffer, and others unknown intentionally and maliciously interfered

with plaintiffs contractual relationship with Yale as set out above by taking steps to procure

Montague's wrongful expulsion. These steps included, but are not limited to:

               223a.        Violating the strict confidentiality requirements contained in Yale's

                            policies;

               223b.        Falsely informing Roe that her name could not be kept anonymous;

               223c.        Falsely informing Roe that the informal complaint process was not

                            available under the circumstances;

               223d.        Falsely informing or implying to Roe that Montague was the subject of a

                            previous complaint of sexual assault; and

               223f.        Violating Yale's policy limiting the authority of Title IX Coordinators to

                            bring formal complaints in situations where coordinator intervention is

                            ooneeded"
                                        to protect "the safety or well-being of the complainant or other


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                         members of the community," where in fact no such intervention was

                         necessary.

         224.    As a result of the conduct of these individual defendants, Roe was misled into

cooperating in a formal complaint process against Montague despite her express wishes to keep

the process informal and preserve her anonymity. The formal complaint process ultimately

resulted in the University severing its relationship with plaintiff by expelling him from the

University.

         225.    Gleason, Killheffer, and others unknown acted through improper motive or means

and with actual malice, including the illegitimate purpose of ensuring the pursuit of formal UWC

proceedings against Montague, regardless of Roe's stated desire to keep the process anonymous

and informal, in order to make an example of him and to prove that the University was tough on

sexual assailants.

         226.     As a direct and foreseeable result of the individual defendants' wrongful conduct,

the plaintiff has suffered, and will continue to suffer, multiple forms of damage, as set forth

above.

                                            Count IX
                      Breach of Contract. UWC : Failure to Make Findinss
                                     Constitutins a Violation
                                       (v. Yale Universitvl

         227.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         228.     As set forth above, under University policies, a student formally charged with

sexual misconduct is entitled to a hearing before a panel of the UWC and may be found to have

violated University policy only if the panel finds facts by a preponderance of the evidence

presented at the hearing that the student committed an act or acts constituting an offense defined

as "sexual misconduct" under said policies.

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        229.      A respondent cannot be found to have violated University policies in the absence

of sufficient evidence. The evidence the panel may consider in determining sufficiency is

confined to the fact-finder's report and the evidence elicited by the panel at the UV/C hearing.

         230.     According to Yale's Sexual Misconduct Policies, sexual assault is "any kind       of

nonconsensual sexual contact, including rape, groping, and any other nonconsensual sexual

touching." (See Exhibit 1.) Furthermore, per the Sexual Misconduct Policies, "[s]exual activity

requires consent, which is defined as positive, unambiguous, and voluntary agreement to engage

in specific sexual activity throughout a sexual encounter." "Consent must be ongoing throughout

a sexual encounter and can be revoked at any time." (Id.)

         231.     The panel failed to make findings supporting the conclusion that Montague

sexually assaulted Roe.

         232.     It is undisputed that Roe affirmatively consented to sexual activity when   she led


Montague to his room, removed all of her clothing, got into bed with him, and voluntarily

engaged in various forms of sex.

         233.     The panel did not find, and could not have found, that Roe affirmatively,

unambiguously, and audibly communicated to Montague her revocation of consent to sex.

Rather, the uncontested facts were that Roe pushed lightly on Montague's shoulders as he

positioned himself on top of her, an actthat cannot under any reasonable interpretation be

construed as a clear and unambiguous revocation of consent, and that Montague did not appear

to hear Roe when she purportedly said "no."

         234.     Consequently, the panel's conclusion that Montague sexually assaulted Roe in

violation of the University'   s Sexual   Misconduct Policies is a breach of the requirement that




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sufficient evidence support the panel's findings, as well as a breach of the covenant of good faith

and fair dealing.

            235. As a direct and foreseeable     result of the defendant Yale's wrongful conduct, the

plaintiff has suffered, and will continue to suffer, multiple forms of damage,       as set   forth above.

                                                  Count X
              Breach of Contract. U\ilC     II: Erro        Reliance on UWC I Proceedinss
                                            (v. Yale University)

            236.    Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

            237.    The UWC Procedures provide that "[i]n determining culpability, the panel may . .

. take into account a respondent's previous formal       discipline for other acts of sexual misconduct      .



. . (emphasis added)." (See Exhibit 2.)

            238.    As set forth above, because the UWC I proceedings did not in fact involve any

"acts of sexual misconduct," those proceedings could not and should not have been relied upon

by the UWC II panel in assessing Montague's culpability.

            239.    The panel's effoneous reliance on the UWC I proceedings was a breach of Section

7   .4   of the UWC Procedures, and a breach of the covenant of good faith and fair dealing.

            240.    As a direct and foreseeable result of the defendant's wrongful conduct, the

plaintiff has suffered, and will continue to suffer, multiple forms of damage,       as set   forth above.

                                                Count XI
                         Breach of Contract" UWC II: Consideration of Evidence
                                 Outside the Presence of the Respondent
                                           (v. Yale Universitv)

            241.    Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

            242.    The UWC Procedures provide, under the "Hearings" section (7.4), that "[i]n

determining cutpability, the panel may . . . take into account a respondent's previous formal

discipline for other acts of sexual misconduct . . . ." (See Exhibit 2.) The panel is not authorized

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to consider as evidence of culpability any matter that is not presented at the hearing in the

presence of the parties, who would then have an opportunity to respond; the evidence against a

respondent consists of the fact-finder's report and the evidence and testimony gathered at the

hearing.

        243.      When it issued its findings, the panel explicitly stated that it relied on the UWC I

proceedings in assessing Montague's culpability in the UWC II proceedings.

        244.      Evidence of the UWC I proceedings was not contained in the fact-finder's report,

however, nor was it discussed in Montague's presence at the UV/C II hearing.

        245.      Montague, as the respondent, had the right to be present at, or at least to

meaningfully participate in, all portions of the hearing related to his culpability.

        246.      Yale denied Montague the opportunity to be present at that portion of the hearing

during which the panel considered the UV/C I proceedings.

        247.      As a result, Montague was deprived of the opportunity to explain to the panel the

UWC I proceedings; to explain that his conduct did not in fact amount to "sexual harassment";

and to explain that his s training was not focused on, and indeed had no relationship to, sexual

relationships or sexual consent.

           248.   Had Montague been present during the panel's consideration of the UV/C I

proceedings, and had he been given an opportunity to explain to the panel the conduct which led

to those proceedings, it would have been clear to the UV/C II panel that the UWC I proceedings

bore no relationship to, and had no probative value as to the issue of Montague's culpability in

the UWC II proceedings.




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        249.     By denying Montague the opportunity to be present during the presentation of

evidence against him, Yale breached its obligations under its own UWC Procedures, as well as

the covenant of good faith and fair dealing.

        250.     As a direct and foreseeable result of the defendant's wrongful conduct, the

plaintiff has suffered, and will continue to suffer, multiple forms of damage,       as set   forth above.

                                        Count XII
              Breach of Contract/Common Law. U\ilC             II   (Denial of Basic Fairness/
                           Arbi
                                         ,". t"t"
                                                    ""r""att
        251.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

        252.     The University had a duty, either under an express or implied contract or as a

matter of common law, to ensure that the UV/C II proceedings were conducted with basic

fairness.

        253.     The University breached this duty of basic faimess by, without limitation:

                 253a. Misleading Roe into cooperating with the formal complaint              process;

                 253b. Filing   a formal complaint against Montague when there was no risk to

                         Roe's safety or to the safety of the community;

                 253c. Failing to provide Montague with         adequate notice of the complaint against

                         him, such that his version of events appeared inconsistent between the

                         time he was interviewed by the fact-finder and when he testified at the

                         UWC panel hearing;

                  253d. Failing to find facts sufficient to support the conclusion that Montague

                         violated the University's Sexzal Misconduct Policies;

                  253e. Taking the UV/C I proceedings into account as to culpability in the UWC

                         II proceedings when the UV/C I proceedings were themselves a violation

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                          of Yale's own policies and procedures, and where the allegations in the

                          UWC I proceedings were wholly unrelated to the UV/C II proceedings in

                          any event;

                  253f.   Failing to give Montague an opportunity to hear and respond to evidence

                          of the UWC I proceedings;

                  2539. Taking the UWC I proceedings into account to enhance Montague's

                          punishment in the UWC II proceedings where the UWC I proceedings,

                          and the resulting discipline, were themselves a violation of Yale's policies

                          and procedures, and where the UWC      I allegations and resulting discipline

                          bore no relationship to the subject matter of the UWC II proceedings;

                  253h. Failing to provide Montague      an opportunity to respond to and challenge

                          the panel's recommended sanction in advance of a final disciplinary

                          decision against him;

                  253í. Arbitrarily    and capriciously expelling Montague when Yale's own

                          recommonded sanction for similar conduct is a reprimand; and

                  253j. Arbitrarily and capriciously     expelling Montague when   -   even   if the UV/C

                          I proceedings were properly considered in relation to discipline     -   a more


                          appropriate sanction would have been something less drastic than

                          expulsion.

         254.      The University's breach of its duty to ensure basic faimess proximately caused

Montague to sustain substantial injury, damage, and loss, including, but not limited to: mental

anguish; severe emotional distress; injury to reputation; past and future economic loss;

deprivations of due process; loss of educational opportunities; and loss of future career prospects.


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                                               Count  XIII
                       20 U.S.C. I L681 lTitle IXl. U\ilC II(Erroneous Outcome)
                                           (v. Yale Universitv)

         255.     Plaintiff restates each of the foregoing paragraphs as if fully restated herein.

         256.     As set forth above, the University engaged in a series of actions that ultimately

resulted in the UV/C II panel's erroneous finding that Montague violated Yale's Sexual

Misconduct Polices sexually assaulting Jane Roe.

         257.     These actions, and the panel's ultimate finding, were a product of disparate

treatment of Montague based on his gender.

         258.     Yale was under enoÍnous pressure to show it took seriously female students'

complaints of sexual assault and to counter the perception that it was inappropriately lenient in

its discipline of male students accused of sexual misconduct.

         259.     When Yale learned Roe's "bad experisnce" involved an encounter with

Montague, it seized the opportunity to make an example of him because he was one of the most

prominent male frgures on campus. The University took steps to secure Montague's wrongful

expulsion in order to prove to its critics that it could and would expel male students for

responsible for sexual assault (despite its disciplinary history largely to the contrary).

         260.     The University's decision to press Roe into cooperating in a formal complaint

process and its ultimate decision to expel Montague were motivated by gender bias.

         261.     Montague, because of his gender, suffered an effoneous outcome of the UWC           II

proceedings. This unlawful discrimination by the University in violation of Title IX proximately

caused Montague to sustain substantial injury, damage, and loss, including, but not limited to:

mental anguish; severe emotional distress; injury to reputation; past and future economic loss;




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deprivations of due process; loss of educational opportunities; and loss of future employment

prospects.




         WHEREFORE, plaintiff Jack Montague respectfully requests that the Court grant him

the following relief:


          1.        Enjoin Yale University to reinstate the plaintiff as a fully matriculated, student in

                    good standing at Yale University;

          2.        Alternatively, enjoin Yale University to reopen the UWC proceedings;

          3.        Enjoin Yale to expunge from plaintiff   s   transcript, disciplinary records, and all

                    other records maintained by and/or under the control of Yale University all

                    reference to sexual misconduct and the flawed UWC         I and UWC II proceedings;

          4.        After trial, enter judgment for the plaintiff on each Count of the complaint and

                    award him damages in an amount to be determined at trial, including attorneys'

                    fees, costs and interest;

          5.        Award punitive damages to the plaintiff; and

          6.        Grant such other relief as the Court deems just and equitable.


                                                JURY DEMAND

          Plaintiff Jack Montague hereby demands atrial by jury on all claims so triable.




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                                             JACK

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Dated: June9,2016




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YaleUniversiry


Sexual Misconduct Response
HOME > POLICIES&DEFINITIONS



Yale Sexual Misconduct Policies and
Related Definitions
Sexual Misconduct Policies at Yale

Yale University is committed       to maintaining and strengthening educational, working, and living
environments founded on civility and mutual respect in which students, faculty, and staff
are connected by strong bonds of intellectual dependence and trust. Sexual misconduct is antithetical

to the standards and ideals of our community and will not be tolerated.

Yale aims to eradicate sexual misconduct through education, training, clear policies, and serious

consequences for violations of these policies. The University's Title lX Coordinator has responsibility
for ensuring compliance with Yale's policies regarding sexual misconduct. The University-Wide
Committee on Sexual Misconduct (UWC) (htto://orovost.vale.edu/uwc) and the Title lX coordinators
(http://provost.vale.edu/title-ix/coordinators)   address allegations of sexual misconduct.


These policies   a   pply to all members of the    Ya le   com mu nity as well as to cond uct by th ird pa rties (i.e.,

individuals who are neither students nor employees, including but not limited to guests and
consultants) directed toward, University students, faculty, or staff members. Conduct that occurs in
the process of application for admission to a program or selection for employment is covered bythese
policies.


Many forms of sexual misconduct are prohibited by Connecticut and federal law, including Title lX of
the education amendments of r972, and Connecticut statutes relating to sexual offenses, and could
result in criminal prosecution or civil liability.



Sexual Misconduct
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Sexual misconduct incorporates a range of behaviors including sexual assault, sexual harassment,
intimate partner violence, stalking, voyeurism, and any other conduct of a sexual nature that   is

nonconsensual, or has the purpose or effect of threatening, intimidating, or coercing a person.


Much sexual misconduct includes nonconsensual sexual contact, but this is not a necessary
component. For example, threatening speech that is sufficiently severe or pervasive to constitute
sexual harassment will constitute sexual misconduct. Making photographs, video, or other visual or
auditory recordings of a sexual nature of another person without consent constitutes sexual
misconduct, even if the activity documented was consensual. Similarly, sharing such recordings or
other sexually harassing electronic communications without consent is a form of sexual misconduct.
All members of our community are protected from sexual misconduct, and sexual misconduct             is

prohibited regardless of the sex of any party involved.

Violations of Yale's Policv on Teacher-Student Consensual Relations
              le.ed   ua lo      n     licies   ndex.html and its policy on Relationships between Staff

Members are a form of sexual misconduct.



Sexual Harassment

Sexual harassment consists of nonconsensual sexual advances, requests for sexual favors, or other
verbalor physical conduct of a sexual nature on or offcampus, when: (r)submission to such conduct         is

made either explicitly or implicitly a condition of an individual's employment or academic standing; or
(z) submission to or rejection of such conduct is used as the basis for employment decisions or for

academic evaluation, grades, or advancement; or (¡) such conduct has the purpose or effect      of
unreasonably interfering with an individual's work or academic performance or creating an
intimidating or hostile academic or work environment. Sexual harassment may be found in a single
episode, as well as in persistent behavior. All members of our community are protected from sexual
harassment, and sexual harassment is prohibited regardless of the sex of the harasser or the harassed.



Sexual Assault

Sexual assault is any kind of nonconsensual sexual contact, including rape, groping, and any other
nonconsensua I sexual touching.




Sexual Consent
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Sexualactivity requires consent, which is defined as positive, unambiguous, and voluntary agreement
to engage in specific sexual activity throughout a sexual encounter. Consent cannot be inferred from
theabsence of a"no"iaclear"yes,"verbal orotherwise,isnecessary. Consenttosomesexualacts
does not constitute consent to others, nor does past consent to a given act constitute present or future
consent. Consent must be ongoing throughout a sexual encounter and can be revoked at any time.


Consent cannot be obtained by threat, coercion, or force. Agreement under such circumstances does
not constitute consent.

Consent cannot be obtained from someone who is asleep or otherwise mentally or physically
incapacitated, whether due to alcohol, drugs, or some other condition. A person is mentally or
physically incapacitated when that person lacks the ability to make or act on considered decisions to
engage in sexualactivity. Engaging in sexualactivity with a person whom you                 know-or    reasonably

should   know-to      be incapacitated constitutes sexual misconduct.




Guidance Regarding Sexual Consent

Consent can only be accurately gauged through direct communication about the decision to engage in
sexual activity. Presumptions based upon contextual factors (such as clothing, alcohol consumption,
or dancing)are unwarranted, and should not be considered as evidence for consent.


Although consent does not need to be verbal, verbal communication             is   the most reliable form of
asking for and gauging consent. Talking with sexual partners about desires and limits may seem
awkward, but serves as the basis for positive sexual experiences shaped by mutualwillingness and
respect.




Intimate Partner Violence
lntimate   pa   rtner violence (lPV) occu   rs   when a current or former intimate   pa   rtner uses or th reatens
physical or sexual violence. IPV also may take the form of a pattern of behavior that seeks to establish
power and control by causing fear of physical or sexual violence. Stalking may also constitute lPV.



Stalking
Stalking is repeated or obsessive unwanted attention directed toward an individual or group that is
likely to cause alarm, fear, or substantial emotional distress. Stalking may take many forms, including
following, lying in wait, monitoring, and pursuing contact. Stalking may occur in person or through                  a
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medium of communication, such as letters, e-mail,text messages, ortelephone calls. ln some
circumstances, two instances of such behavior may be sufficient to constitute stalking.


Last updated May to, 2016




             ln an emergency:

             lf you are in immediate danger, call 9tt or Yale Police (http://publicsafetv.vale.edu/police)                     at
             2o3.432.44oo

             Contact the SHARE Center (http://sharecenter.yale.edu/)              :


             Call the hotline anytime atzo3.43z.zooo for information, advocacy and support


             Click here (http://smr.vale.edu/sites/default/filesÆiles/considering-seekins-help.pdfl                for more
             information on who can help and how.




   Latest Updates

   Februarv zol6 Report of Com olaints of Sexual Misconduct
   (http://provost.va le.ed u/sites/defau lt/fi lesÆiles/Februarv-zol 6-Report.pdf)


   Yale Reoort on the AAU Cam nus          Cl   i   mate   Su   rvev (htto://provost.va   le.ed   u/title-ix/va e-reDort-aa u-cam ous-cli mate-
                                                                                                              I




   survey)




   Sexual misconduct scenarios


   Scenarios have been developed to help illustrate Yale's definition of sexual consent. For                                          .

   comparison, the scenarios include examples of consensual sex. The scenarios also provide
   examples of penalties-ranging from expulsion to reprimand-that might be imposed as a result
   of a violation. view PDF (http://smryale.edu/sites/default/files/files/Sexual-Misconduct-Scenarios.pdf)
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Yale
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UWC Procedures
The procedures for the University Wide Committee on Sexual Misconduct can be found below



Introduction
Yale University is committed to maintaining and strengthening an educational, employment, and
living environment founded on civility and mutual respect. Sexual misconduct is antithetical to the
standards and ideals of our community, and it is a violation of Yale policy and the disciplinary
regulations of Yale College and the Graduate and Professional Schools. Sexual misconduct will not be
tolerated.

Sexual misconduct incorporates a range of behaviors including sexual assault (which includes rape,
groping and any other non-consensual sexual contact), sexual harassment, intimate partner violence,
stalking, and any other conduct of a sexual nature that is non-consensual, or has the purpose or
effect of threatening or intimidating a person or persons. Sexual misconduct also includes a violation
of Yale's Policy on Teacher-Student Consensual Relations. Yale aims to eradicate sexual misconduct
through education, training, clear policies, and serious consequences for violations of these policies.
In addition to being subject to University disciplinary action, sexual misconduct may lead to civil
liability and criminal prosecution,

1. Authority of the UWC

The University-Wide Committee on Sexual Misconduct (*UWC") provides an accessible,
representative, and trained body to answer informal inquiries and fairly and expeditiously address
formal complaints of sexual misconduct, Any current or former Yale faculty member, [1] trainee,
student, or managerial or professional employee ("staff member" [2]) who has experienced sexual
misconduct may bring a complaint to the UWC, so long as two conditions are met: First, the person
accused of sexual misconduct must be a Yale faculty member, trainee, student, or stafl member at the
time the complaint is filed.[3] Second, the alleged misconduct must have occurred at a time when all
parties involved were Yale faculty members, trainees, students, or staff members' Please note: Only
students and trainees may bring complaints to the UWC against staff members,[4] and the UWC is
not empowered to hear complaints made by or against members of Yale's collective bargaining units
or excluded clerical and technical employees.[5]

Any Title IX Coordinator at the University ("Coordinator") may bring a complaint to the UWC in three
circumstances. First, a Coordinator may bring a complaint on behalf of a person who is not a current
or former member of theYale community, so long as (i) the respondent is a currentYale faculty
member, trainee, student, orstaff member; (¡i) the respondentwasatYale in one of these roles at
the time of the alleged misconduct; and (iii) the events complained of occurred on the Yale campus or




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in connection with a Yale-sponsored event. Second, a Coordinator may bring a complaint to the UWC
alleging a violation of Yale's Policy on Teacher-Student Consensual Relations. Finally, a Coordinator
may bring a complaint when there is evidence that the University's policies on sexual misconduct
have been violated and the Coordinator's intervention is needed to ensure that the matter reaches
the UWC.

Actions that are the source of complaints to the UWC may also violate criminal laws. The UWC will not
delay its proceedings pending the outcome of a criminal investigation or other legal process. At the
request of law enforcement authorities, the UWC may postpone fact-finding while the authorities are
gathering evidence, but fact-finding will resume as soon as the authorities have finished that work.

Filing a complaint with the UWC is not a prerequisite to filing a complaint of discrimination with
Connecticut's Commission on Human Rights and Opportunities, the federal Equal Employment
Opportunity Commission, the U.S. Department of Education's Office for Civil Rights, or any other
state or federal agency, and seeking assistance from the UWC in no way precludes filing a state or
federal discrimination complaint.

Yale encourages individuals who have experienced sexual misconduct to contact the SHARE
Center and the Yale or New Haven Police Departments in addition to seeking assistance from the
UWC. The SHARE Center provides counseling and information to survivors of sexual violence and to
those who have experienced other forms of sexual misconduct. SHARE counselors can also guide and
support individuals bringing complaints to the UWC.

2. Service on the UWC

2.1. Composition

The UWC consists of about 30 members drawn from faculty throughout the schools of the University;
managerial or professional employees; postdoctoral associates or fellows; and students from Yale
College and the graduate and professional schools (*UWC Members"). The Chairof the UWC (*UWC
Chair") is a tenured faculty member. The current UWC membership is posted on the UWC website.

The Secretary of the UWC organizes the UWC's activities; handles all official UWC correspondence;
acts as a liaison with the complainant, the respondent, their advisors, and witnesses; and works with
the UWC Chair and Title IX Coordinators to resolve informal complaints. In the case of a formal
complaint, the Secretary attendsthe hearing, and may ask clarifying questions and participate in the
deliberations, but does not vote.

2.2. Selection of Members

The provost appoints members to the UWC and accepts recommendations from the dean and the
faculty of each school, who may nominate faculty members (of any rank) and managerial or
professional employees for membership on the UWC. In the case of Yale College students,
nominations by the Yale College Council will be submitted with appropriate supporting materials to
the dean of Yale College, who will make recommendations to the provost. Similarly, the Graduate and
Professional Student Senate will submit graduateand professionatstudent nominations and
supporting materials to the deans of the graduate and professional schools, who will
make recommendations to the provost. The provost makes all final decisions regarding appointments.




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2.3. Terms
Faculty members and managerial or professional employees are appointed to the UWC for terms of
one year, which may be renewed. Student Members are appointed to one- or two-year terms,
depending on their availability and anticipated graduatipon dates. The UWC Chair is appointed to
a three-year term. All Members are eligible for reappointment'

2.4, Training

All UWC Members must participate in training. In addition, each year, returning UWC Members must
receive refresher training. Training topics include discussion of University resources for redress of
sexual misconduct; sexual misconduct and equal employment, educational, and professional
opportunity; methods of informal resolution; the interaction between University disciplinary processes
and criminal processes; responding to retaliation; and other topics suggested by experts from within
and outside the University.

3. Confidentiality and Honesty

The UWC and all members of the Yale community who are involved in a matter before the UWC are
expected to maintain the confidentiality of its proceedings and the information obtained for those
proceedings.[6] All documents prepared by, prepared for, or received from the UWC in connection
with a UWC proceeding ("UWC Documents") must be held in strict confidence. Parties may not
disclose UWC Documents to anyone other than their advisers in the UWC proceeding, family
members, and attorneys. Parties must inform these recipients that the UWC Documents are strictly
confidential and may not be further disclosed. Disciplinary action may be taken against any member
of the Yale community who discloses a UWC Document in violation of these procedures or who is
responsible for the improper disclosure of such documents by others. The Provost's Statement on the
Confidentiality of UWC Proceedings elaborates on these confidentiality obligations.

An individual who makes an informal inquiry to the UWC Chair or Secretary may request that the
UWC keep the matter confidential from the accused or other persons involved in the events.
However, the UWC will not be able to hear a formal complaint unless the individual is willíng to reveal
the complaint (including the complainant's identity) to the respondent, the fact-finder, and the
hearing panel (see Section 7, below). In some cases (for example, allegations of violence), the UWC
may not be able to honor a request for confidentiality if doing so would endanger the safety or
well-being of the complainant or other members of the Yale community. In addition, the University
may not be able to preserve the complete confidentiality of UWC records in the event of litigation or a
government investigation. Finally, an accused individual may have access to sexual misconduct
allegations that become part of that individual's student record or personnel file, although in such
cases the University will remove information identifying the complainant.

Parties and witnesses are expected to cooperate in the investigation of matters brought to the UWC.
Parties and witnesses must provide truthful information in all phases of a UWC proceeding. Failure to
provide truthful information or any attempt to impede the UWC process may result in a
recommendation for a more severe penalty or a referral for discipline.

4. Retaliation
Yale policy strictly forbids retaliation aga¡nst individuals who report sexual misconduct, file complaints
of sexual misconduct, cooperate in the investigation of sexual misconduct, or hear formal or informal
complaints of sexual misconduct. The UWC processes set out here are available to individuals who
believe that they have suffered retaliation for any of these actions. The rules governing the UWC's
authority as described in Sections 1 and 7 also apply to retaliation complaints.

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5. Advisers
A party may be accompanied by an adviser at any stage of the UWC process. An adviser may be
anyone of the party's choosing and offer personal and moral support, before, during, and after a
hearing, and help the party prepare for meetings related to a complaint. The adviser may not submit
documents, either directly or indirectly, on a party's behalf at any stage of the process, nor speak for
the party during an interview with a fact-finder or during a formal hearing.
A party must provide the adviser's name and contact information to the Secretary prior to meeting
with the fact-finder. A party must also inform the Secretary if a new adviser is selected. The
Secretary will send the adviser copies of UWC Documents unless the party requests otherwise' A
party wishing to bring an attorney as an adviser must inform the Secretary at least four days in
advance of any meeting that the adviser will attend.

6. Requests for Advice and the Resolution of Informal Complaints
An individual may ask questions about UWC procedures, request advice (including whether certain
behavior constitutes sexual misconduct), or seek resolution of an informal complaint by contacting
the UWC Chair or Secreta ry.l7l Forthe resolution of an informal complaint, the UWC Chair or
Secretary will contact a Title IX Coordinator, who may offer an informal investigation, mediation,
counseling, or other means of resolving the complaint (note that the University does not allow
face-to-face mediation in cases alleging sexual violence). The Title IX Coordinator may also provide
accommodations and interim measures that are responsive to the party's needs as appropriate and
reasonably available. IB] In all cases, the UWC Chair or the Title IX Coordinator will inform the
individual bringing the informal complaint that participation in an informal resolution is voluntary and
that the individual may end the informal process at any time and choose to bring a formal complaint
or choose not to further pursue the matter. In some cases (for example allegations of violence), the
University may pursue an investigation of sexual misconduct, even if the complainant chooses not to
pursue the matter further.

7. Formal Complaint Process
7.1. Filing of ComplainÇ Notice to the Respondent; Withdrawal
An individual may bring a formal complaint either without seeking an informal resolution or after
attempting an informal resolution. To initiate a formal complaint, an individual must submit a written
statement to the UWC Chair[9] naming the respondent[10] and describing the events and
circumstances underlying the complaint in sufficient detail to allow the UWC to determine jurisdiction
and to provide general notice to the respondent.[11] The complaint may be supplemented by
additional supporting documents or evidence. The UWC Chair, in consultation with the Secretary and
one other UWC Member, will decide whether (i) the complainant and respondent meet the criteria set
out in Section 1 above and (ii) the complaint, if substantiated, would constltute a violation of
University policyconcerning sexual misconduct.[12] The UWCwill not hearformalcomplaintsthatdo
not meet these criteria. If a complaint is denied a hearing, the UWC Chair will explain the denial in
writing to the individual who filed the complaint.
If, in the course of adjudicating a formal complaint, additional complaints or allegations are brought
forward to the UWC that are associated with the circumstances of the original complaint, the UWC will
incorporate the claims into the proceeding if feasible unless the UWC determines that a claim is
retaliatory or without basis. All such additional complaints must be raised before the fact-finding is
concluded. The UWC will not entertain a new complaint if it has already adjudicated a formal
complaint based on the same set of circumstances.

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Actions that are the source of complaints to the UWC may also violate criminal laws. The UWC will not
delay its proceedings pending the outcome of a criminal investigation or other legal process. At the
request of law enforcement authorities, the UWC may postpone fact-finding while the authorities
are gathering evidence, but fact-finding will resume as soon as the authorities have finished that
work.

If the complaint will be heard, the Secretary will inform the respondent in writing that a formal
complaint has been filed and will be heard by the UWC. The Secretary's letter will include the
complaint, any documents accompanying the complaint, and references to the applicable Yale policy
on sexual misconduct, these procedures, and any other relevant Yale procedures. The letter will also
set a deadline five days later by which the respondent may submit a written response to the
Secretary. The response, like the complaint, may be supplemented by additional supporting
documents or evidence. The Secretary will forward the response and any accompanying documents to
the complainant.[13]

The Secretary will inform the respondent's dean (in the case of a student, or trainee), the dean and
the provost (in the case of a faculty member), or the supervisor (in the case of a staff member) and
the cognizant Title IX Coordinator(s) that a formal complaint has been filed. The Title IX
Coordinator(s) with responsibility for the parties will coordinate appropriate interim measures,
including measures to protect and support the complainant and other individuals as appropriate.
University officials are expected to cooperate in implementing those recommendations.[14]

The complainant may, at any time before the day scheduled for the hearing, request in writing to the
Secretary thatthe complaint bewithdrawn. The UWCChair, in consultation with the Secretary and
one other member, will consider whether the request is fully voluntary and whether the interests of
the Yale community would be better served by hearing the complaint. If the UWC Chair decides to
hear a complaint despite a request for withdrawal, the complainant will not be required to participate
in the hearing. The UWC Chair's decision whether to approve or deny the request is final.

7.2. Appointment of Hearing Panel
The UWC Chair will appoint a hearing panel of five UWC Members and will appoint one of these
Members as the panel chair. The hearing panel will not include any Member who has participated in
the resolution of an informal complaint arising out of the same events. The panel members and the
decision maker (as defined in Section 7.5) will receive a copy of the complaint and response and must
withdraw from the proceedings if their relationship to the complainant or the respondent or other
circumstances lead them to believe that they cannot judge the matter fairly.

The Secretary will send a notice to the complainant and the respondent, providing the names of
the panel members and the decision maker and informing them of their right to object to the
participation of a panel member or decision maker. The objection must be in writing to the Secretary
and received within two days of the date of the notice, and it must state the party's grounds for
believing the panel member or decision maker is incapable of fairly judging the matter. The UWC
Chair will decide whether an objection is justified, and that decision is final. If a successful objection
to the partic¡pation of a decision maker is raised, the UWC Chair will ask the dean of a different Yale
school orthe person whowould normally hearan appeal underSection 7.7 to serve instead. Parties
will have an opportunity to object to any panel member or decision maker selected as a replacement.



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7.3. Fact-Finder; Witnesses
Within seven days of receiving the complaint, the UWC Chair will appoint an impartial fact-finder to
assist in the investigation of the allegations. The Secretary will provide the fact-finder with the
complaint, the response, and any other information provided by the parties. The fact-finder will
gather documents and conduct interviews as necessary to reach a thorough understanding of the
facts and circumstances surrounding the allegations of the complaint.[15] The fact-finder will not
consider information that is provided solely to attest to a party's character.

Within 21 days of being appointed, the fact-finder will present a written report to the Secretary. The
report will describe the relevant facts and circumstances and may address the credibility of witnesses
but will not reach conclusions as to whether those facts and circumstances constitute a violation of
University policy. After reviewing the report, the UWC Chair may request clarifications and additional
investigation. The Secretary will send a copy of the completed report to the parties and inform them
of with the date and location of the hearing.

The complaint and response, all documents relating to the complaint and response, and the
fact-finder's report will be provided to the hearing panel and to the parties. The hearing panel will
not accept from the parties any written response to the fact-finder's report or any additional
documents, exceptasexplained in Section 7.4 below. If a party believesthe panel should interview
witnesses, the party must submit to the Secretary the names of the witnesses and the subject of their
testimony at least four days before the hearing. Normally, the panel will call a witness other than the
parties only if the witness can offer potentially relevant information that was not conveyed to the
fact-finder. Witnesses may not appear for the sole purpose of testifying about a party's character'

7.4. Hearing

The hearing will take place no sooner than five days after the parties' receipt of the fact-finder's final
report. Unless both parties ask to appear jointly, the complainant and the respondent will not appear
jointly before the panel at any stage of the hearing. The party who is not before the panel will be in a
 private room with audio access to the proceedings.

The hearing is intended primarily to allow the panel to interview the complainant and the
respondent with respect to the fact-finder's report. The panel chair will begin the hearing by
explaining the substance of the complaint and the specific University policy or policies allegedly
violated. The complainant and then the respondent may make a brief statement of no longer than 10
minutes to the panel, and they may provide a written copy of their statements to the panel at the
hearing. The panel will provide a copy of any written statement it receives to the other party.
Following these statements, the panel will interview the complainant and then the respondent. At its
sole discretion, the panel may request the testimony of additional witnesses.[16] The parties and any
witnesses will be questioned by the panel only, but each party will be given an opportunity to submit
questions for the panel to ask the other party or witnesses. The panel, at its sole discretion, may
choose which, if any, questions to ask.

The panel may examine and take into account reports and evidence collected by law enforcement
bodies or other investigators. In determining culpability, the panel may also take into account a
respondent's previous formal discipline for other acts of sexual misconduct, including written
reprimands, and the respondent's criminal conviction arising out of the events complained of. The
panel may not take into account as evidence of culpability previous accusations of other acts of sexual
misconduct that did not result in formal discipline or the fact that a criminal investigation or
prosecution is pending in relation to the events complained of.

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7.5. Findings, Gonclusions, and Recommendations

Following the hearing, the panel will consider whether the respondent has violated University policy,
giving an affirmative answer if it is satisfied that a violation has been shown by a preponderance of
the evidence. Based on evidence presented in the factfinder's report or elicited at the hearing, the
panel may find violations of Yale policy in addition to the violation(s) charged. The panel will reach
its conclusions by a majority vote and by secret ballot, with no abstentions allowed. If a party is found
to have violated University policy, the panel will recommend a penalty. The Secretary will inform the
panel about the nature of previous penalties assessed for similar violations. The Secretary will also
describe any formal Yale discipline previously imposed on the respondent, and the panel may consider
this prior discipline in its recommendations regarding a penalty. The panel will again reach
its recommendations by a majority vote and by secret ballot, with no abstentions allowed. The panel's
recommendation may also include remedies other than or in addition to a penalty.[17]

Within 10 days of the final hearing session, the panel will complete a report, setting out its findings of
fact, its conclusion as to whether or not those facts constitute a violation of University policy, and its
recommended penalty, if any. The Secretary will forward the report to the relevant decision maker:
(i) the provost if the respondent is a faculty member; (ii) the dean of the respondent's school if the
respondent is a trainee or student; or (iii) the associate vice president for Human Resources if the
respondent is a staff member. The Secretary will furnish copies of the panel's findings of fact and
conclusions to the complainant and the respondent. Each party may submit to the Secretary a single
written response to the panel's findings of fact and conclusions within three days of receiving it. The
Secretary will forward the written response to the decision maker and to the other party.[18] On the
basis of the decision maker's own concerns or concerns raised in a response from a party, the decision
maker may ask the panel to re-examine or clarify findings of fact. If necessary, the panel may submit
a revised report. The decision maker will then accept the panel's findings of fact, but may accept,
reject, or modifo the panel's conclusions or recommendations, in whole or in part. The final decision
whether to impose a penalty, and what penalty or penalties to impose, belongs to the relevant
decision maker. The decision maker may consult with the chair of the panel regarding the panel's
conclusions and recommendations. In addition, if the decision maker contemplates materially
modifying or rejecting the panel's conclusions or recommendations, the decision maker shall meet
with a majority of the panel members to discuss the proposed decision. The decision maker will
render his or her decision in writing within seven days of receiving the panel's report, The decision
will set out the decision maker's conclusions and the penalties imposed, if any. The complainant is
entitled to know any penalty imposed if that penalty would affect them directly (for example, if the
 respondent is not permitted to approach the complainant or the respondent is suspended from the
 University).

The Secretary will send written notice of the decision and the penalties imposed, if any, to the
parties, the members of the panel, the UWC Chair, and the University's Title IX Coordinator.


7.6. Penalties
Persons found  to have violated the sexual misconduct policies of the University may receive penalties
up to and including expulsion from the University or termination of University employment, as
discussed in applicable faculty, trainee, student, and staff policies and regulations.




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7.7. Appeals

Any party may appeal the decision of the decision maker. An appeal from the provost's decision
regarding a faculty member is made to the president; an appeal from a dean's decision regarding a
trainee or student is made to the provost; and an appeal from the associate vice president for human
resources'decision regarding a staff member is made to the vice president for human resources and
administration. The appeal must be in writing and received by the Secretary within five days of the
decision. The only grounds for appeal are (i) procedural error that prevented the hearing panel or the
decision maker from judging the matter fairly, or (ii) the discovery of facts that were not reasonably
available to the appealing party prior to the UWC hearing and that support or refute the allegation of
sexual misconduct.
The Secretary will provide a copy of the appeal to the other party. If the other party wishes to
respond, that party must do so in writing to the Secretary within five days after receiving the appeal.
Within 14 days after receiving the appeal, the president, provost, or vice president will provide a
written appeal decision to the parties. If the appeal is granted, the matter will be returned to the
hearing panel for reconsideration. In the decision, the president, provost, or vice president may give
the hearing panel instructions regarding the nature and extent of its reconsideration. The hearing
panel will act promptly to reconsider the matter and will issue a revised report to the decision maker.
The decision maker will promptly issue a new decision, which is not subject to appeal. The decision
maker may consult with the chair of the panel regarding the panel's revised report. In addition, if the
decision maker contemplates modifying or rejecting some or all of the panel's conclusions or
recommendations, the decision maker shall meet with a majority of the members of the panel and the
individual that granted the appeal (president, provost, or vice president) to discuss the proposed
decision. The decision maker will promptly issue a new decision, which is final.

7.8, Time Periods

For ease of reference, the following time periods generally apply to the review of a formal complaint.
The UWC Chair may extend a time period for good cause such as illness, holidays, the absence of
witnesses from campus, the complexity of the allegations, or competing demands on UWC Members or
decision makers. The parties will be informed by the Secretary or UWC Chair if a time period is
extended, and the UWC Chair's decision regarding extensions will be final.

 Respondent submits a                Within five days after delivery of
 response to the complaint           complaint to respondent

 Parties may object to panel         Within two days after notice of
 members                             panel members'names


 UWC Chair appoints                  Within seven days after receipt of
 fact-finder                         complaint

 Fact-fi nder's report due           Within 21 days after fact-finder's
                                     appointment


 Hearing date                         No sooner than five days after
                                      parties' receipt of fact-finder's
                                      report



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Requests for hearing panel to         Received by Secretary at least
interview witnesses                   four days before the hearing

Notice regarding bringing             Received by Secretary at least
legal counsel as adviser              four days in advance of the
                                      meeting that the adviser will
                                      attend.


Panel submits report                  To Secretary   within 10 days of
                                      the hearing

Response to panel's findings of Within three days after receipt of
fact and conclusions            the findings of fact and
                                      conclusions


Decision maker renders                Within seven days after receipt of
decision                              panel report and any responses
                                      by the parties


Appeal by either party                 Within five days after decision
                                       rendered


 Response to an appeal                 Within five days after opposing
                                       party's receipt of appeal


 Decision on appeal                    Within 14 days after receipt of
                                       appeal


8. Recordkeeping
The Secretary keeps and retains records of UWC proceedings, storing them in a secure place. The
Secretary will retain records of (i) all complaints received by the UWC; (ii) all actions taken by the
UWC in response to informal complaints; (iii) all supplementary documents and evidence received by
the UWC in relation to a formal complaint; (iv) all fact-finder reports; (v) minutes from each UWC
hearing session[19]; (vi) the report of the hearing panel; (vii) the written notice provided to the
complainant and the written notice provided to the respondent of the decision maker's decision; and
(viii) appeals and decisions regarding appeals.

The Secretary will summarize each formal complaint of sexual misconduct that the UWC receives and
the resolution of those complaints, and they will submit the summaries to the University Title IX
Coordinator as soon as possible after each complaint is resolved. The summaries will contain sufficient
information to allow the University Title IX Coordinator to assess Yale's compliance with the
requirements of Title IX. Semiannually, the University Title IX Coordinator will publish a statistical
abstract of the handling of sexual misconduct complaints at Yale, including any disciplinary actions
taken. These abstracts will include no information that would reveal the identities of the parties.

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[1] In these procedures, the term "faculty member" should be understood to include persons teaching
at Yale, even if they are not formally members of the faculty,

[2] The term "staff member," as used in these procedures, includes all Yale employees except faculty
members, members of a Yale collective bargaining unit, clerical and technical employees excluded
from the bargaining units, casual or temporary employees, or student employees'

[3] Yale faculty members, trainees, students, or staff members who have been harmed by the sexual
misconduct of a person not affiliated with Yale (for example, a visitor to campus or the employee of a
Yale contractor) may contact a Title IX Coordinator.

[4] Others who wish to file a complaint against a staff member may contact a Title IX Coordinator, a
union representative, a Human Resources Generalist, or the Office for Equal Opportunity Programs.

Students who do not wish to use the UWC procedures may instead contact a Title IX Coordinator, a
Human Resources Generalist, or the Office for Equal Opportunity Programs. Once the UWC or the
department of Human Resources agrees to hear a student's formal complaint against a staff member,
the student may not movethe complaintto another forum.

[5] Complaints of sexual misconduct against members of the collective bargaining units or excluded
staff may be brought to a Title IX Coordinator, a union representative, a Human Resources
Generalist, or the Office for Equal Opportunity Programs.

[6] Under federal law, a complainant alleging certain types of sex offenses            to be informed
                                                                              has a right
of the outcome of disciplinary proceedings arising from his or her complaint, and Yale may  not impose
non-disclosure requirements on the complainant in regard to that information.

[7] The names and e-mail addresses of the UWC Members can be found on the         UWC website.

[B] Some examples of accommodations and interim measures include providing an escort for the
complainant; ensuring that the parties have no contact with one another; providing counseling or
medical services; providing academic support, such as tutoring; and arranging for the complainant to
re-take a course or withdraw from a class without penalty, including ensuring that any changes do
not adversely affect the complainant's academic record,

[9] Should the UWC Chair be unable to address a complaint because of a relationship to a party or
other circumstances, the provost will appoint another member of the UWC to assume the Chair's role

t10l A single complaint may involve more than one complainant and/or more than one respondent.
The singular is used throughout these procedures for convenience only.

[11] The UWC Chair will determine whether the complaint provides sufficient detail or must       be
supplemented.

[12] For the purposes of this determination, when a Title IX Coordinator brings a complaint, the
Coordinator will be considered the complainant.




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[13] Complex complaints may combine allegations of sexual misconduct and other offenses, and the
UWC may not be the only University body with authority to hear a complaint. In such cases, the UWC
will retain jurisdiction over all charges of sexual misconduct, and other charges will be heard
according to the circumstances of each complaint. In some cases, for example, the UWC may hear all
charges, and, in other cases, a different decision-making body may decide the charges that do not
relate to sexual misconduct. In cases involving multiple types of allegations, the UWC Chair will
consult with the official responsible for the other relevant body and together they will determine the
appropriate forum and the applicable standards of proof. If there is disagreement about the
appropriate forum or manner in which to hear a complaint, the provost will make the final decision.

[14] See footnote I for examples of interim measures that may be taken.

[15] In complaints involving sexual violence, if the fact-finder or panel chooses to consider medical or
laboratory evidence, that consideration should include a trained forensic examiner's written opinion
or testimony. Neither the fact-finder nor the panel may review documents or hear testimony covered
by a legal privilege (for example, psychiatric patient records and attorney-client communications).

[16] If a Title IX Coordinator has brought a complaint on behalf of a person who is not a current or
former member of the Yale community, the panel must hear that person's testimony, if that
person wishes to appear.

[17] See footnote B for examples of non-disciplinary remedies.

[18] Except for this response, neither the parties nor their representatives may communicate with a
decision maker about a pending case, and the decision makers will not consider documents sent to
them by third parties on behalf of the complainant or respondent.

[19] The minutes of a UWC hearing consist of a protocol annotated to indicate the time at which each
phase of the process started and ended. The minutes do not record statements, testimony, or
questions.




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Sexual Misconduct Scenarios
September 9,2013

Yale University is committed to creating and maintaining a campus that is safe and respectful-
where sexual misconduct of any kind has no place. Accordingly, any alleged violation of Yale's
sexual misconduct policy that is brought to the attention of the University will be pursued to the
extent possible and, if substantiated, disciplined effectively and appropriately þolicy at
http //smr. vale. edu/definitions- sexual-misconduct- consent-and-harassment).
    :




In order to provide general information about sexual misconduct at Yale and to engage the
community in frank and open discussion, the University publishes semi-annual reports of
complaints of sexual misconduct brought to the attention of the Title IX Coordinators, the
University-wide Committee on Sexual Misconduct (UV/C), and the Yale Police Department. The
most recent semi-annual report has generated a number of thoughtful questions and concems.
While we cannot answer those questions in the context of actual cases, we have attempted to
address many of them through a statement and Frequently Asked Questions (posted at
http.llprovost.yale.edu/title-ix/reports). The scenarios in this document are intended to provide
additional information and to encourage further discussion

The majority of recent questions and concerns relate to Yale's use of the term "nonconsensual
sex" and the disciplines imposed when the UWC finds that nonconsensual sex has occurred.
Yale's definition of consent requires positive, unambiguous, voluntary agreement at every point
during a sexual encounter-the presence ofan unequivocal "yes" (verbal or otherwise), notjust
the absence of a "no." The category "nonconsensual sex" includes rape but is more expansive
than rape. In disciplining the full range of nonconsensual sexual activity, not just those acts that
would meet a criminal standard, the UWC aims to uphold Yale's high community standards,
creating a campus that is safe for all.

The following scenarios have been developed to help illustrate a range of behaviors that Yale
and the UWC would chaructenze as "nonconsensual sex" - and thus, a violation of Yale's sexual
misconduct policy. For comparison, the scenarios include examples of consensual sex. The
scenarios also provide examples of penalties-ranging from expulsion to reprimand-that might be
imposed as a result of a violation.

The scenarios ¿ìre not drawn from actual cases heard by the UWC; the details of those cases are
held in the strictest confidence. Rather, the scenarios draw upon the extensive research literature
on both consensual and nonconsensual sex on college campuses. It is likely that these scenarios
reflect incidents on our crimpus too, but examples of this full range of circumstances have not yet
been heard in formal UV/C cases. The names chosen for the scenarios are gender neutral to
reflect the fact that sexual misconduct occurs in all gender configurations.

The scenarios are concise and do not capture the complexities that may emerge during the UWC
formal complaint process, which is designed to provide a fair and thorough review of each
complaint and thus includes independent fact finding, a formal hearing, and an appeal process
(procedures at http://provost.yale.edu/uwc). Furthermore, the disciplinary outcomes described in
these scenarios presume that the UV/C has determined that there is suffrcient evidence (i.e., a
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preponderance ofthe evidence) to conclude that the conduct occurred as presented in each
scenario. The scenarios also presume that the UV/C has determined each penalty based solely on
the nature of the sexual misconduct found to have occurred. In an actual case, the penalty may
be influenced by additional factors, such as the prior disciplinary record of the respondent and
the wishes of the complainant.

Finally, the conduct described in some scenarios would be criminal and, as such, subject to
criminal prosecution. The Title IX Coordinator reports all cases of possible sexual assault to the
Yale Police Department (YPD), and the University fully supports all individuals who pursue
their complaints with the YPD.

Yale is committed to addressing sexual violence and sexual misconduct, to increasing awareness
of sexual misconduct on our campus, and to engaging the community in creating a culture of
respect and responsibility. V/e hope these scenarios are informative, and that they generate
productive discussion and suggestions.




Note: the descriptions in some of the scenarios below may be disturbing to some readers.

The díscíplíne imposed ín each scenørío presumes that thefacts descríbed below høve been
substantiøted in the IIIACføctlinding ønd hearing processes.

l.   Ryo and Casey are dating. Casey is uncertain about whether they should have sex, but Ryo
     is persuasive and finally obtains Casey's voluntary agreement. As they engage in sex, Casey
     says "wait - stop - that hurts." Ryo nonetheless continues for several more minutes,
     restraining Casey. Afterwards, Casey is upset. Ryo apologizes, but says they were past the
     point of intemrption.

     llhile there was initial consent, that consent was withdrøwn. The UWC penalty would        be
     expulsion.


2.   Jessie and Vic have been flirting all semester, and agree to meet at aparty. After dancing
     closely together for a while, Vic proposes going to one of their rooms and Jessie agrees. On
     the walk to Jessie's room, they send a few texts, letting Vic's friends know not to worry and
     asking Jessie's roommate to please sleep somewhere else. Once in the room, they begin
     touching. Each is interested in hearing what the other wants, and each is paying attention to
     the other's signals. They reach and sustain clear agreement upon mutually desired sexual
     activities.

     This is consensual sex: Vic and Jessie reached positive, voluntary, unambiguous øgreement
     to engage in sexual conduct together.




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3.   Sidney and Harper are dating. On several occasions they are physically intimate, but within
     limits set by Sidney, who is opposed to having sex at this stage of their relationship. One
     night, when they are being intimate within their mutually agreed upon boundaries, Harper
     begins to cross them. Sidney expresses concern, but Harper is encouraging, saying "it will be
     okay just this once." Sidney replies "we shouldn't do this," but continues to touch Harper in
     an intimate way. As Harper initiates sex, Sidney says "this is a bad idea" and begins to cry,
     but embraces Harper and the two proceed to have sex.

     Initiqlconsent was followed by ambiguity. Sidney's acquiescence to sex was accompanied
     by too much dismay to constitute unambiguous agreement, especially given Sidney's
     longstanding prior refusal to engage in sex. The UWC penalty would likely fall in the rqnge
     of probation to suspension,

4.   Jamie and Cameron are at aparty. It is crowded on the dance floor and they are briefly
     pressed together. Later, Jamie encounters Cameron in the hallway and smiles. Cameron,
     who is now very drunk, follows Jamie into the bathroom and forces Jamie to have sex.

     There was no consent to have sex. The UWC penalty would be expulsion.


5.   Devin and Ansley are engaging in a consensual sexual encounter, which Devin begins to
                                                                                              oonot
     intensifu. Ansley responds by pulling away slightly, moving Devin's hands and saying
     so fast; I'm not sure." Devin cooperates briefly but then intensifies the contact once more.
     Ansley inches backwards and then becomes still. Nonetheless, Devin has sex with Ansley.

     While the initiql sexual activity was consensual, that consent was not sustained. The UI(C
     penalty would likely range from multi-semester suspension to expulsion.

6.   Alexis and Riley are studying together in Riley's room. During a break in their studying, they
     rub each other's shoulders. Alexis then introduces some intimate touching. Riley moves
     closer and says "Okay, but I don't want to go too far - we still have a lot of work to do."
     Alexis continues to touch Riley in an intimate way. Riley willingly agrees to some contact,
     but mostly sets boundaries. Alexis jokes that they deserve to have sex as a reward for their
     hard work studying; Riley laughs. After their studying is done, Alexis suggests againthat
     they should have sex. Riley responds they should probably get some sleep but continues to
     touch Alexis. After a few more minutes, Alexis asks once more. Riley pauses, then says
     okay and pulls Alexis closer. They have sex.

     This is consensual sex. Despite initial hesitation, the ultimate agreement to hqve sex was
     voluntary and unambiguous. There is no violation of the sexual misconduct policy. The UWC
     would lilrely counsel Alexis about the inappropriateness of sexual pressure, and recommend
     SHARE's sensitivity training program.




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7.   Morgan and Kai are friends who begin dancing and kissing at aparty. They are both drunk,
     although not to the point of incapacitation. Together they decide to go to Kai's room. They
     undress each other and begin touching each other. Morgan moves as if to engage in oral sex
     and looks up at Kai questioningly. Kai nods in agreement and Morgan proceeds.
     Subsequently, without pausing to check for further agreement, Kai begins to perform oral sex
     on Morgan. Morgan lies still for a few minutes, then moves away, saying it is late and they
     should sleep.

     There was  initial agreement, but the bounds of that agreement were not clear. Kai may have
     thought that Morgan hsd consented to reciprocal oral sex, but took no steps to obtain
     unambiguous agreemenL The UIIC penalty would likely be a reprimand.


8.   Tyler and Jordan are both drinking heavily at an off-campus event. Tyler becomes extremely
     drunk. Jordan offers to take Tyler home. On the way, Tyler has trouble walking, and makes
     several wrong turns. Once in Tyler's room, Jordan initiates sexual activity. Tyler looks
     confused and tries to go to sleep. Jordan has sex with Tyler.

     There was no consent to have sex. A personwho is incapacitated-lacking the ability to make
     or act on considered decisions to engage in sexual activity-cannot give consent. The UWC
     penalty would be expulsion.




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          Reporting Sexual Misconduct to                                          a   Title IX Coordinator
          People are often curious about how a Title IX Coordinator can help someone who has
          experienced sexual misconduct. The specific actions and options vary from case to case,
          but the basic goals remain the same: coordinators seek to address any immediate concerns,
          connect complainants with appropriate resources, ensure that they are fully aware of the
          options available for further action, and help facilitate those actions. Except in rare cases
          involving an acute threat to community safery coordinators defer to complainants'wishes.
          Information shared with coordinators is kept confidentially within the Title IX Office..

          How do people reach            a   coordinator?

          The names and conracr information for all the Title IX Coordinators are posted online.
          Anyone can call or email any coordinator with concerns-no matter how big or small-
          about a specific incident or campus sexual climate in general. Sometimes, information
          comes to coordinators from friends, colleagues, or witnesses. In those cases, coordinators
          reach out to potential complainants, who can choose whether or not they want to engage
          in further discussion with the coordinator. Coordinators are also able to suggest resources
           to support and advise respondents.

           What happens during that first conversationl

           Coordinators usually meet with people in person, but sometimes conversations happen
           by phone or email. Initiall¡ coordinators focus on complainants'immediate concerns,
           especially safery, emotional well-being, and professional or academic requirements.
           Complainants do not need to describe their experiences in detail; they may choose to do
           so, but it is not necessary. Often, there are steps that can be taken-connecting someone
           with SHARE, shifting a class assignment, establishing a no-contact agreement, etc.-
           rhat can have immediate positive impact. Coordinators describe the full range of options
           and resources available for pursuing informal, formal, and criminal complaints, so that
           complainants can make a well-informed decision about next steps. Coordinators work
           closelywith the SHARE Center, the University-Wide Committee on Sexual Misconduct
           (UWC), Human Resources, and the Yale Police Department, and can coordinate efforts
           among them to respond to complainants' needs and decisions.

           Whøt steps can coorilinøtors toke to øililress concerns?

           Coordinators can put various measures in place to address complainants' safety concerns,
           mitigate the impact of sexual misconduct, and address a potentially hostile climate.
           Many of these steps can be taken even if someone does not choose to pursue a complaint.
           For example, coordinators may be able to change on-campus housing or work locations,
           arrange for extra time to complete academic or work assignments, provide security
           escorts, or arrange for counseling as appropriate. Coordinators can also implement an
           order requiring the complainant and respondent to refrain from direct contact. Respon-
           dents may also agree to other steps, such as having their own housing, work, or class-
           room locations changed, avoiding specific areas of campus, etc. Alongside these individ-
           ually-focused measures, other steps may be taken to address climate concerns such as
           sexual harassment training for departments or groups.



           * The Titte IX Office does share anonymiæd informadon with the community through our regular reports, taking care to
             protect individual confidentiality. In situations where there is an ongoing threat, identifying information may be shared
             with law enforcement, mediel professionals, or other internal Universíty colleagues in order to better protect individual
             and community safety.


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          What happens if   complainant decides to Prusue
                            a                                    a   complaint with a
          Title IX Coordinator?

          The Title IX Coordinator complaint process (often called "informal") is focused on
          remedies: finding ways to address complainants' concerns and, if necessary, poten-
          tially hostile climate issues to the extent possible without involving a formal hearing
          process. If a complainant wishes to move forward with the Title IX Coordinator
          complaint process, the coordinator may speak to the respondent and possibly other
          witnesses and review evidence. Except in cases of acute threat, coordinators will not
          take any acrion rhar could compromise a complainant's confidentiality without the
          complainant's agreement.

          Complainants frequently ask a coordinator to talk to respondents about the behavior in
          question and its impacts. These conversations give a coordinator an opportunity to review
          University policy with a respondent, inform a respondent how their behavior has been
          perceived, and establish measures (as described above) to help complainants continue their
          professional and educational activities. A respondent may also be offered more intensive
          one-on-one training. The level of confidentialiry requested by the complainant may limit
          options for remedies and therefore the effectiveness of the response.

          A coordinator will not directly impose discipline but may work with supervisors or help
          to initiate formal processes that may produce disciplinary outcomes. Complainants are
          also free to file a formal complaint at any point, and coordinators can facilitate that process.

           How do coordinators help with formal complaints?

          While formal complaints of sexual misconduct        are adjudicated by the UWC, the
           coordinators play supporting roles.  For each  formal complaint, the U\MC will identify
           a coordinator to implement interim measures while the complaint process takes place
           and continuing measures as appropriate after the process concludes. In certain circum-
           stances, coordinators can themselves bring a formal complaint to the UWC' e.9., on
           behalf of a person who is not a clrrrent or former member of the Yale community or to
           protect the safety of the community or individuals.

           What   else do coordinators do?

           In addition to responding to and addressing specific complaints, coordinators track
           and monitor incidents to identify patterns or systemic issues, coordinate the available
           resources and support processes, deliver prevention and educational programming to
           the University communit¡ and conduct periodic assessments of the campus climate
           and, when indicated, focused climate assessments of specific departments or units.




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YaleUniversiry


Office of the Provost
HOME      }   TITLE   IX >   UNIVERSITY-WIDE COMMITTEE ON SEXUAL MISCONDUCT            >     SÎATEMENT ON
CONFIDENTIALITY OF UWC PROCEEDINGS




Statement on Confidentiality of UWC
Proceedings
All members of the University community who are involved in a matter before the UWC should
u   ndersta nd their obligation s rega rd ing the confidentia lity of UWC proceed ings   a   nd docu ments


The UWC's procedures state that "all members of the Yale community who are involved in a matter
before the UWC are expected to maintain the confidentiality of its proceedings and the information
obtained forthose proceedings." The purpose of confidentiality         is   to encourage parties and witnesses
to participate in UWC proceedings and share allthe pertinent information they have to offer, which           is

essential to reaching a fair outcome. lf parties or witnesses fear that their participation or testimony
in a UWC proceeding could be revealed, then concerns about reputation, socialtension, or retaliation
may cause them to keep silent. Every member of the University community should recognize that
breaches of confidentiality hurt the participants and have the potential to erode respect for the UWC
process.


The UWC's procedures allow parties to select an adviser with whom they can discuss all aspects of the
proceedings, and the University understands that parties will seek support and advice from their
families. We expect, however, that parties will impress on their advisers and families the importance
of maintaining strict confidentiality. Of course, persons involved in a difficult situation will also seek
support from friends, but participants in UWC proceedings are expected to do so without revealing
details of the proceedings or information they have obtained as a result of the proceedings.

The UWC's procedures impose strict and unequivocal confidentiality obligations regarding documents
prepared by, prepared for, or received from the UWC in connection with a UWC proceeding ("UWC
Documents"). Parties may not disclose UWC Documents to anyone other than their UWC advisers,
family members, and attorneys, and parties must inform these recipients that the UWC Documents
are strictly confidential and may not be further disclosed. The University may take disciplinary action
against any member of the Yale community who discloses UWC Documents in violation of UWC
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procedures or who is responsible for the improper disclosure of such documents by others. ln
addition, whether or not a UWC Document has been disclosed, disciplinary action may be taken
against a member of the Yale community who breaches confidentiality in order to retaliate against                a

person for his or her participation in a UWC proceeding as a complainant, respondent, or witness.


Finally, breaching the expectation of confidentiality may have legal implications. The circumstances
surrounding allegations of sexual misconduct are often sharply disputed and have the potential to
affect the reputations of the persons involved. The University believes that statements made in good
faith as part of UWC proceedings are legally protected. Statements made outside of UWC proceedings
may lack that protection and could lead to a legal claim against the person who makes them.


lf you have any questions regardingyour responsibility                  to preserve the confidentiality of UWC
proceedings, please contact UWC Chair David Post at david.post@yale.edu (mailto:david.post@vale.edu)
or Secretary Aley Menon at a lev.menon @va le.edu (mailto :a lev.menon                     (Ðva le,ed u)



Last updated: May B, zot5




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Yale University
Report of Complaints of Sexuol Iúisconduct
Brought forward from January 7, 2015 through June 30, 2075




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Introduction
Yale Universþ is committed-above all else-to providing a safe, respectful, and supportive
environment, where everyone can thrive and where sexual misconduct has no place. One of the many
steps the University has taken to realize that commitment is the semi-annual publication of reports to
inform the Yale community of complaints of sexual misconduct that have come to the University's
attention and the actions that have been taken to address them.

This report- the eighth that we have published since 2012- presents summary information about 56
complaints of sexual misconduct that were brought to the University's attention between January 1,
2015 and June 30, 2015. It also provides updates on eight complaints that were first presented in
previous reporting periods. The "Guide to This Report," which follows this introduction, contains
additional information about the format and composition of the report, as well as links to general
information about Yale's policies, definitions, and procedures relating to sexual misconduct.

Behind the summaries and statistics in this report lie the very real, and often very painful, experiences
of members of our own community. We therefore make every effort to protect the privacy of those
individuals. As a result, while we strive to make the report as informative as possible, it can offer only
a limited view of the complex circumstances that underlie specific complaints and the multitude of
factors that lead to decisions about discipline and other responsive actions.

Although necessarily constrained in the detail they provide, the semi-annual reports have been quite
successful in generating broad discussion about Yale's programs and procedures to address sexual
misconduct, including the reports themselves. Over the past months, for example, our Title IX student
advisory boards, as well as faculty advisors, requested that we eliminate gender references in
complaint summaries in order to strengthen confidentiality for the individuals involved. As you will
see, the current report includes gender-neutral summaries and presents the gender of complainants and
respondents only in aggregate, statistical form.

As I have noted in the past, the semi-annual reports capture information only about those incidents
about which complaints have been brought forward; accordingly, these reports tell us very little about
overall incidence rates. Last spring, Yale partnered with 26 peer institutions and the Association of
American Universities to gather some of that missing information through the Campus Sexual Climate
Survey, which was offered to all students. We look forward to sharing the Survey findings with the
Yale community when they become available later this fall and hope that they will stimulate campus-
wide discussion and lead to further improvements in our programs.

It is impossible to overstate the value of the community's input and engagement in shaping our
initiatives to address and prevent sexual misconduct and assuring that Yale is a safe and respectful
place to study, live and work. I hope that you will continue to share your observations, questions and
suggestions about the report and any of our programs. You may contact me at titleix@yale.edu or
schedule a call or meeting by contacting my office at203-432-4446'

Stephanie S. Spangler

August 4,2015



Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Guide to This Report
This report includes both statistical and descriptive summaries of the complaints brought forward within this
reporting period (January I - June 30, 2015) and are organized according to the office or committee that
addressed the complaint most recently andlor definitively: the University-Wide Committee on Sexual
Misconduct (UWC), the Title IX Coordinators, and the Yale Police Department (YPD).

The statistical summaries present the complaints by the category of the misconduct, then by complainant and
respondent, and lastly by the venue through which the complaint was primarily addressed. Throughout the
narrative portion of the report you will find cases that engaged more than one of these venues, evidence of the
close coordination of the UWC, the Title IX Coordinators, and the YPD in working with complainants to find
the venues that will best meet their needs.

While intended to be broadly informative, the report does have limitations. Because of privacy
obligations, the report cannot fully convey the variety and complexity of circumstances associated with
cases that may appear similar in the brief narrative descriptions. Likewise, the report assigns
complaints to general categories such as "sexual assault" and "sexual harassment" that encompass
broad ranges of behavior. We have embedded links to key definitions and terminology in the report
(which also appear at the end of this report), so that readers can understand what behaviors may be
included in any category. We also include links to Frequentl), Asked Ouestions and to hypothetical
case scenarios, which illustrate Yale's defînition of consent. Readers can find comprehensive
information about Yale's policies, definitions and procedures in the guide "Preventing and Respo
to Sexual Misconduct: Building a Climate of Safetv and Respect at Yale."




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.
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                                                          J
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Statistical Summary of Complaints'
The statistics below include all complaints of sexual misconduct brought forward within this reporting period
(January I - June 30, 2015), regardless of when the alleged events occurred. To avoid duplication, the tables
below do not include complaints presented as updates in this report since these complaints were already
included in the statistical summaries of previous reports. The complaints of sexual misconduct are sorted in
broad categories (e.g., sexual assault, intimate partner violence, sexual harassment) based on the complainant's
allegations. Complaints involving more than one allegation of sexual misconduct are listed only once. The
complainant is the person who reported having experienced misconduct, or (in the case of third-party
complaints) the person who is reported to have experienced it. The respondent is the person (or persons)
alleged to have committed the misconduct.

Table         l.   Sexual Misconduct Complaints by Complainant           Affiliation
                                                                    Complainant Affiliation
                                       Undergrad   G&P     Staff     Postdoc      Facuþ       Other Yale      Non-      Unknown        Total
                                                                                                Affiliate      Yale

                    Sexual Assault         6        J         1          0           0              0            J           0          l3
    ã.9
    5L
    xO
    ()È             Intimate Partner
                                           I        0         I          0           0              0            0            0          2
    (h              Violence
    ,-ú
     o€
         o.
                    Sexual
                                                    9        4           1           0              0            2            0         24
    Þ3              Harassment
    Þ0t
    6)o             Stalkine               2        5         I          0           0              0            I            0          9
    Eg
         a          Other                  5        J         0          0            0             0            0            0          8


                    Total                 22        20        7          I            0             0            6            0         5ó




Table 2. Sexual Misconduct Complaints by Respondent Affiliation
                                                                     Respondent Affiliation
                                       Undergrad   G&P      Staff    Postdoc      Facuþ        Other Yale      Non-      Unknown       Total
                                                                                                Affiliate      Yale

                    Sexual Assault         7        J         I          0            0             1            I            0         l3
         ()
                    Intimate Partner
    Ës                                     0        0         0          0            0             0            2            0          2
    õö
    Øú
                    Violence
                    Sexual                                               0            J             2                         4         24
                                           4        J         5                                                  3
    oc)             Harassment
    Þ'ã                                                                               0             0            2            2          9
                    Stalkine               2        3         0          0
    Þ00
    c)()
    (5E             Other                  2        2         0          0             I            0            2            I          I
                    Total                  l5       It        6          0            4             3            10           7          56



i
 The sexual assault data in this report will not conespond to Yale's annual report required under the federal Clery Act because this
report uses a more expansive definition of sexual assault and includes cases from a wider geographic jurisdiction than in the Clery
report.


Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Table 3. Sexual Misconduct Complaints by Gender Configuration
                                                     Complainant Gender

                               Female          Male        Other Gender        Multiple Mixed           Gender     Total
                                                              Identity                Gender             Not
                                                                                   Complainants         Known

            Female               I              6                     0                 0                 0             7

  q)        Male                 3t             -t                    0                 0                 3         43
 E
  í)
            Other Gender                                                                0                 0             0
                                 0              0                     0
  g)        Identity

            Multiple Mixed
  o         Gender               0              0                     0                 0                 0             0
  c)
 ú          Respondents
            Gender Not                                                                   I                              6
                                 2              0                     0                                   J
            Known

            Total                40             9                     0                  I                6          56




Table 4. Sexual Misconduct Comolaints by Venue

                                      Venue (Office or Committee that Addressed the Complaint)

                                      uwc  -            UWC -              Title IX               YPD            Total
                                      Formal           Informal           Coordinator

       €    Sexual Assault              J                 0                    7                   J               13
  ãE
  ã!        Intimate Partner                                                                       2                2
   ita o.
  (t)       Violence
                                        0                 0                    0
  ,-ú
   oe       Sexual
                                        I                 0                   t7                   6               24
  Þ3
  o't5
            Harassment
  Þ0É                                                                                                               9
  !lo       Stalkine                    0                 0                    J                   6
  Ëg
       à    Other                       J                 0                    2                   3                I
            Total                       7                 0                   29                   20               56




In providing a range of options-including informal options-for pursuing complaints, the University seeks to
meet the varied needs of potential complainants. Given the violating nature of sexual misconduct it is
important that those who have experienced it retain as much control as possible over the actions taken in
response. Accordingly, whenever possible, it is the potential complainant who decides whether or not to pursue
a complaint, and in what venue. In cert¿in unusual circumstances, such as those involving risks of the safety of
individuals and/or the communiqr, the University will bring matters to a formal hearing independently of the
wishes of an individual complainant. The choice of an informal process does not imply the matter is less serious
than those matters pursued through formal processes, nor does it preclude the complainant from choosing to
bring a formal complaint at alater date.

Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Descriptive Summaries of Complaints
The descriptive summaries of complaints are organized in tables below according to the office or committee that
reviewed and addressed the complaints, i.e., the University-Wide Committee on Sexual Misconduct (UWC), the
Title IX Coordinators, and the Yale Police Department (YPD).
Although a complaint may be brought to multiple venues, each complaint is described only once in this report,
based on where the majority of the actions taken occurred. The UWC, Title IX Coordinators and YPD routinely
collaborate and coordinate their activities to ensure that complaints are resolved promptly and equitably. All
reports of sexual misconduct brought to the YPD, for example, are reviewed by the Universþ Title IX
Coordinator; similarly, all reports of possible criminal activity brought to the Title IX Coordinators (including
those reported via the UWC) are shared with the YPD.



IJniversitv-Wide                  ittee on Sexual Misconduct: Formal
The following complaints were pursued through formal resolution with the UWC. In every case, the complainant was
provided information about all options for pursuing complaints - including formal, informal, and criminal complaints - as
well as information about support resources such as the Sexual Harassment and Assault Response & Education Center
CHABÐ. See the UWC Procedures for more information.

 During this reporting period (January I - June 30, 2015), there were 7 new formal complaints broughtforwqrd to the
 UWC, which are reported in this tqble. In addition, below are updates to cases that were reported as pending in a
 previous report and høve been completed.

 Complainant       Respondent       Category of          Description/Actions Taken
                                    Misconduct
                                    Reported
 Yale College      Yale College     Sexual assault       A YC student alleged that another YC student engaged in sexual
 Student           Student                               harassment and sexual touching without consent. The complaint was
                                                         withdrawn.


 Yale College      Yale College     Other                A Title IX Coordinator alleged that a YC student engaged in
 Student           Student                               voyeurism, and threatened and attempted to coerce a YC student to
                                                         refrain from pursuing a complaint. The UWC found suffrcient
                                                         evidence to support the allegations of voyeurism and coercion. The
                                                         respondent was expelled.


 Yale College      Yale College     Other                 Following adjudication of a complaint, the respondent alleged that the
 Student           Student                                complainant made false claims in filing the complaint. The UWC
                                                          found no factual basis for the respondent's complaint and therefore did
                                                          not accept jurisdiction.

 Yale College      Yale College     Sexual assault        A YC student alleged that another YC student engaged in sexual
 Student           Student                                harassment and sexual penetration withoutçsnËgnlL. The UWC found
                                                          suffrcient evidence to support the allegation ofnonconsensual sexual
                                                          activity and sexual harassment. The respondent was placed on
                                                          probation and received a written reprimand.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Yale College      Yale College    Sexual assault         A Title IX Coordinator alleged that a YC student engaged in sexual
Student           Student                                penetration with another YC student without consent. The case is
                                                         pending. No-contact restrictions were imposed as an interim measure.


Graduate   &      Graduate    &   Sexual harassment      A G&P student alleged that another G&P student sexually        harassed
Professional      Professional                           and physically assaulted the complainant. The case is pending. No-
Student           Student                                contact restrictions were imposed as an interim measure.


Graduate   &       Graduate   &   Other                  A G&P student alleged that another G&P student physically assaulted
Professional       Professional                          the complainant. The case is pending. No-contact restrictions were
Student            Student                               imposed as an interim measure.


Ilpdates to prev¡ous complaínts: The complaints below were reported as pending in a previous report cß complaints
brought to a Title IX Coordinqtor or the UWC. They were included in the statisticql summories in the previous report
qnd qre thereþre not included in the statistical summqries øt the beginning of this report.


Complainant        Respondent     Category of            Description/Actions Taken
                                  Misconduct
                                  Reported
Yale College       Yale College   Sexual assault         Original summary: ATifle IX Coordinator brought a formal complaint
Student            Student                               alleging that a YC student engaged in sexual touching without consent.

                                                          Update: The UWC did not find suffrcient evidence to support the
                                                          allegation. No-contact restrictions, which were imposed as an interim
                                                          measure during the proceedings, were continued.


 Yale College      Yale College    Sexual assault         Oríginal summary: AYC student reported that another YC student
 Student           Student                                made unwanted advances. The Title IX Coordinator counseled the
                                                          respondent on appropriate conduct and restricted the respondent from
                                                          contacting the complainant.

                                                          Update: The YC student brought a formal complaint to the UWC
                                                          alleging that the respondent engaged in sexual activity without
                                                          consent, violated a voluntary no-contact arrangement and breached the
                                                          expectation of confidentiality of UWC proceedings. The UWC found
                                                          sufficient evidence to support the allegation ofnonconsensual sexual
                                                          activity. The respondent was reprimanded, was restricted from
                                                          participating in certain campus activities, and was referred for training
                                                          on sexual consent. No-contact restrictions were continued.


 Yale College      Yale College    Sexual assault         Original summary: AYC student alleged that another YC student
 Student           Student                                engaged in sexual activity without consent.

                                                          tJpdate: This complaint was brought by the respondent following the
                                                          adjudication of the original complaint. The UWC found no factual
                                                          basis for the respondent's complaint and therefore did not accept
                                                          jurisdiction.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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 Graduate   &           Graduate   &   Sexual assault            Original summary: AG&P student alleged that another G&P student
 Professional           Professional                             engaged in sexual penetration without consent. The complainant is
 Student                Student                                  considering filing a complaint with the UWC.

                                                                 Update: A Title IX Coordinator brought a formal complaint alleging
                                                                 that the respondent engaged in sexual penetration without consent.
                                                                 The UWC found suffìcient evidence to support the allegation. The
                                                                 respondent wrls suspended for six months until January l, 2016 and
                                                                 was referred for training on sexual consent.

 Postdoctoral           Faculty        Sexual harassment         Orígínal summary: A postdoctoral appointee reported that      a   faculty
 Trainee                                                         member threatened retaliation   ifthe postdoctoral   appointee brought a
                                                                  complaint forward.

                                                                  Update: The complainant brought a formal complaint with additional
                                                                  allegations ofa violation ofthe Policy on Teacher-Student Consensual
                                                                  Relations and sexual harassment. The UWC found suffrcient evidence
                                                                  to support the allegation ofa violation ofthe Policy on Teacher-
                                                                  Student Consensual Relations. The respondent was suspended from
                                                                  the faculty for one year, suspended from any leadership positions for
                                                                  five years and was required to complete counseling on mentoring and
                                                                  managing conflicts of interest.




(Jn iv er s it.v - Wi   de C ommitte e on S exual Mis c onduc t : Ir¿for mal Complaints
The following complaints were pursued through informal resolution with the UWC. In every case, the complainant was
provided information about all options for pursuing complaints - including formal, informal, and criminal complaints - as
well as information about support resources such as the Sexual Harassment and Assault Response & Education Center
6HARÐ. In cases where a complainant elects to pursue an informal resolution, the UWC may offer an informal
investigation, counseling, or other means of resolving the complaint. The UWC may also recommend and assist in
implementing interim measures and/or ongoing accommodations to support and protect the complainant. In resolving
complaints, the UWC strives to comply with the complainant's wishes for resolution while ensuring that the University
provides a safe and nondiscriminatory environment for all members of the Yale community. See the UWC Procedures for
more information.

 During this reporting period (January I - June         30,   2015), there were 0 informal resolutions pursued through the UIltC.



 Complainant            Respondent     Category of                Description/Actions Taken
                                       Misconduct
                                       Reported




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Title IX Coordinators
The following are cases in which the complainant chose to pursue resolution with either the University Title IX Coordinator
or a Deputy Title IX Coordinator (any of whom are referred to here as "Title IX Coordinator"). In every case, the
complainant is provided information about all options for pursuing complaints - including formal, informal, and criminal
complaints - as well as information about support resources such as the Sexual Harassment and Assault Response &
Education Center 6HARÐ. The Title IX Coordinators do not conduct formal hearings. However, they investigate
complaints to the degree possible and work with the complainant, the respondent, and, where appropriate, the respondent's
supervisor to achieve a resolution of the complaint, which may include sanctions for the respondent and remedies and
ongoing accommodations for the complainant. They may also put in place measures to support and protect the complainant.
In making their determinations and recommendations, the Title IX Coordinators strive to comply with the complainant's
wishes for resolution while ensuring that the University provides a safe and nondiscriminatory environment for all members
of the Yale community. See the Title IX website for more information.

 During this reporting period (January I - June 30, 2015), there were 29 cqses pursued through the Title IX
 Coordinators. In addition, 3 complaints, which were reported øs pending in a previous report, are included below as
 updates.

 Complainant       Respondent       Category of          Description/Àctions Taken
                                    Misconduct
                                    Reported
 Yale College       Yale College    Stalking             A YC student reported that another YC student with whom the
 Student            Student                              complainant previously had a relationship had accessed the
                                                         complainant's electronic information on multiple occasions without
                                                         consent. The complainant declined to pursue the complaint at this time'
                                                         After consulting with the complainant, the Title IX Coordinator
                                                         counseled the respondent on appropriate conduct and imposed no-
                                                         contact restrictions. The complainant was provided with IT security
                                                         assistance.


 Yale College       Yale College     Sexual assault      A YC student reported that another YC student engaged in sexual
 Student            Student                              touching without consent. The Title IX Coordinator could not
                                                          substantiate the allegations.

 Yale College       Yale College     Sexual              A YC student reported that YC students whom the complainant did not
 Student            Students         harassment          identi$ made inappropriate comments to the complainant. The
                                                         complainant declined to pursue the complaint at this time. The Title IX
                                                          Coordinator did not have sufficient information to investigate.


 Yale College       Yale College     Sexual assault       A YC student reported that several YC students, many ofwhom the
  Student           Student                               complainant could not identiff, engaged in sexual touching without
                                                          consent. The complainant declined to pursue the complaint at this time.
                                                          After consulting with the complainant, the Title IX Coordinator
                                                          counseled the one identified respondent on appropriate conduct and
                                                          referred the respondent for training on sexual consent.


  Yale College      Yale College     Sexual               A YC student reported that another YC student made unwanted
  Student           Student          harassment           advances. The complainant declined to pursue the complaint at this
                                                          time. After consulting with the complainant the Title IX Coordinator
                                                          counseled the respondent on appropriate conduct and referred the
                                                          respondent for training on sexual consent.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Yale College       Yale College    Stalkine            A YC student reported that another YC student with whom the
Student             Student                            complainant previously had a relationship followed the complainant
                                                       and sent unwanted messages on a number of occasions. The Title IX
                                                       Coordinator counseled the respondent on appropriate conduct and
                                                       imposed no-contact restrictions.


Yale College        Yale College   Sexual              An administrator informed a Title IX Coordinator that an unidentified
Student             Student        harassment          YC student reported that an unidentified YC student made unwanted
                                                       advances toward other YC students. The Title IX Coordinator did not
                                                       have sufïicient information to investigate.


Yale College        Graduate   &   Sexual              A YC student reported that a G&P teaching assistant made
student             Professional   harassment          inappropriate comments of a personal nature to YC students in the
                    Student                            classroom. The Title IX Coordinator æuts9þd.lhs-I$pQndçn1 on
                                                       appropriate conduct. The respondent resigned the teaching position.


Yale College        Graduate   &   Sexual              A YC student reported that a G&P student made unwanted advances.
Student             Professional   ha¡assment           The complainant declined to pursue the complaint and asked that no
                    Student                             further action be taken.

Yale College        Graduate   &   Other                An administrator informed a Title IX Coordinator about a rumor that a
Student             Professional                        G&P student engaged in personal relationships with undergraduate
                    Student                             students in violation ofthe Policy on Teacher-Student Consensual
                                                        Relations. The Title IX Coordinator could not substantiate the
                                                        allegations. The Title IX Coordinator çQu!¡Sgþdlhglgspglldgü on the
                                                        University's sexual misconduct policies and referred the matter to the
                                                        respondent's supervisor for additional oversight.

Yale College        Staff          Sexual               An administrator informed a Title IX Coordinator that   a   YC student
Student                            harassment           whom the administrator would not identi$ received unwanted attention
                                                        from a staffmember. The Title IX Coordinator investigated and found
                                                        suffìcient evidence to support the allegations. The respondent received
                                                        training on sexual harassment and appropriate workplace conduct.

Yale College        Unknown        Sexual               An administrator informed a Title IX Coordinator that a G&P student
Student                            harassment           reported that a YC student was sexually harassed at a study abroad
                                                        progr¿Ìm by an unknown individual. The Title IX Coordinator could
                                                        not substantiate the allegations. The Title IX Coordinator provided
                                                        additional training to the relevant staff.

 Graduate   &       Graduate   &   Sexual assault       A G&P student reported that another G&P student engaged in sexual
 Professional       Professional                        penetration without consent. The complainant declined to pursue a
 Student            Student                             formal complaint at this time. After consulting with the complainant,
                                                        the Title IX Coordinator counseled the respondent on appropriate
                                                        conduct and imposed no-contact restrictions.

 Graduate   &       Graduate   &    Stalkinq            A faculty member informed    a Title IX Coordinator thaf a G&P student
 Professional       Professional                        was stalked by another G&P student with whom the complainant
 Student            Student                             previously had a relationship. After consulting with the complainant
                                                        the Title IX Coordinator counseled the respondent on appropriate
                                                        conduct, referred the respondent for additional training and imposed
                                                        no-contact restrictions.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Graduate    &      Graduate    &     Sexual assault      A G&P student reported that another G&P student engaged in sexual
Professional       Professional                          penetration without consent and appeared sexually aggressive toward
Student            Student                               others. The complainant declined to pursue a formal complaint at this
                                                         time. After consulting with the complainant the Title IX Coordinator
                                                         counseled the respondent on appropriate conduct and refened the
                                                         respondent for training on sexual consont.

Graduate    &       Graduate   &     Sexual assault      A student informed   a   Title IX Coordinator that a G&P student whom
Professional        Professional                         the third party would not   identiff was sexually assaulted by another
Student             Student                              G&P student. The Title IX Coordinator did not have suffrcient
                                                         information to investigate.

Graduate    &       Graduate   &     Sexual              An administrator informed a Title IX Coordinator that a G&P student
Professional        Professional     harassment          reported that another G&P student made a sexually inappropriate
Student             Student                              comment. The Title IX Coordinator could not substantiate the
                                                         complaint. The respondent has left Yale.

Graduate    &       Staff            Sexual              A G&P student reported that a staffmember paid unwanted attention
Professional                         harassment          toward the complainant. The complainant declined to pursue the
Student                                                  complaint. The Title IX Coordinator provided the complainant with
                                                         additional security measures and will follow-up with the respondent's
                                                         supervisor.

Graduate    &       Faculty          Sexual              A G&P student reported that a faculty member whom the student would
Professional                         harassment          not identif made inappropriate comments in the classroom. The
Student                                                  complainant declined to pursue the complaint and asked that no further
                                                         action be taken.


Graduate    &       Faculty          Other               A faculty member informed    a Title IX Coordinator that another faculty
Professional                                             member is alleged to have engaged in personal relationships with G&P
 Student                                                 students in violation ofthe Policy on Teacher-Student Consensual
                                                         Relations. The case is pending.


Graduate    &       Yale Affiliate   Sexual              An administrator informed a Title IX Coordinator that the administrator
 Professional                        harassment          received an anonymous report from a G&P student alleging that a Yale
 Student                                                 affiliate made inappropriate comments. The case is pènding.

 Graduate   &       Non-Yale         Sexual              An administrator informed a Title IX Coordinator that the administrator
 Professional                        harassment          received an anonymous report from a G&P student alleging that a non-
 student                                                 Yale individual made sexually inappropriate comments. The case is
                                                          pending.

 Staff              Staff            Sexual assault       A staffmember reported that another staffmember engaged in sexual
                                                          touching without consent and made inappropriate comments to the
                                                          complainant on multiple occasions. The Title IX Coordinator
                                                          investigated and found sufhcient evidence to support the allegations.
                                                          The respondent's employment was terminated.

 Staff              Staff            Sexual               A staffmember reported that another staffmember made unwanted
                                     harassment           advances and inappropriate comments. The Title IX Coordinator
                                                          investigated and did not find sufficient evidence to support the
                                                          allegations. The respondent was referred for training on sexual
                                                          harassment.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Staff              Staff            Sexual                 A staffmember reported that another staffmember made inappropriate
                                    harassment             comments about the complainant to other staffmembers. The Title IX
                                                           Coordinator investigated and found sufficient evidence to support the
                                                           allegations. The respondent will receive training on sexual harassment
                                                           and appropriate workplace conduct. In addition, the department has
                                                           planned a department-wide training program for supervisors.

Staff              Stâff            Sexual                 An administrator informed a Title IX Coordinator that a staffmember
                                    harassment             reported that another staffmember paid unwanted attention to the
                                                           complainant. The complainant declined to pursue the complaint. After
                                                           consulting with the complainant the Title IX Coordinator counseled the
                                                           respondent on appropriate conduct.


Staff              Faculty          Sexual                 A staff member reported that a faculty member made unwanted
                                    harassment             advances and made unwanted physical contact. The case is pending.


Postdoctoral       Faculty          Sexual                 A former faculty member informed    a   Title IX Coordinator that a
trainee                             harassment             posJdoctoral trainee reported that a faculty member made unwanted
                                                           advances. The case is pending.


Non-Yale           Yale affiliate   Sexual assault         A non-Yale individual reported that a former faculty member had
                                                           engaged in sexual penetration without æ!Sgu!. The case is pending.




Ilpdates to prevíous complaínts: The complaints below were reported        as   pending in ø previous report and are not
included in the stqtisticøl summaries at the beginning of this report

Complainant        Respondent       Category of            Description/Actions Taken
                                    Misconduct
                                    Reoorted
Yale College       Graduate   &     Sexual harassment      Original summary: AYC student reported that a G&P teaching
Student            Professional                            assistant made unwanted advances.
                   Student
                                                           [Jpdate: The Title IX Coordinator counseled the resoondent on
                                                           appropriate conduct. The respondent resigned the teaching position.


Graduate   &       Faculty          Sexual harassment      Original summary: AG&P student reported that a faculty member
Professional                                               made inappropriate comments about G&P students.
Students
                                                           (Ipdate: The respondent's supervisor, in consultation with the Title IX
                                                           Coordinator, counseled the respondent on appropriate conduct.


Staff              Staff            Sexual assault          Original summary: A staff member reported that another staff member
                                                            engaged in sexual touching without consent.

                                                            Update: The Title IX Coordinator investigated and found suffrcient
                                                            evidence to support the allegations. The respondent received training
                                                            on sexual harassment and appropriate worþlace conduct.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Yale Police Deno.rtment

The following are cases in which the complainant chose to contact the Yale Police Department (YPD), which addressed
each case according to its procedures (see the Yale Police website for more information). All reports of possible sexual
misconduct made to the YPD are reviewed by the University Title IX Coordinator.

 During this reporting period (January I- June 30, 2015), there were 23 contacts with the YPD regarding possible
 sexuøl misconduct. 20 were handled primarily by the YPD snd are described below. The remaining were reþred to the
 UWC or a Title IX Coordinator.forfurther irwestigation and resolution qnd are thus described above.


 Complainant         Respondent      Category of           Description/Actions Taken
                                     Misconduct
                                     Reported
 Yale College        Non-Yale        Intimate partner      An administrator referred a YC student who reported that a non-Yale
 Student                             violence              individual with whom the complainant was in a relationship physically
                                                           assaulted and attempted to sexually assault the complainant. The YPD
                                                           investigated and arrested the respondent. The YPD provided the
                                                           complainant with information on safety and victim services.

 Yale College        Non-Yale        Other                 YC students reported that a non-Yale individual engaged in indecent
 Students                                                  exposure. The YPD investigated and arrested the respondent. The YPD
                                                           provided the complainant with information on safety and victim
                                                           services.


 Yale College        Non-Yale        Sexual assault        A YC student reported that a non-Yale individual engaged in sexual
 Student                                                   touching without consent. The YPD investigated and arrested the
                                                           respondent. The YPD provided the complainant with information on
                                                            safety and victim services.


 Yale College        []nknown        Sexual harassment      A YC student reported receiving sexually explicit phone calls from an
 Student                                                    unknown caller. The YPD investigation is ongoing. The YPD provided
                                                            the complainant with information on safety and victim services.


  Yale College       Unknown         Other                  A YC student reported that an unknown individual was looking into the
  Student                                                   complainant's suite bathroom from an adjacent building. The YPD
                                                            investigated and could not identi$ the respondent. The YPD provided
                                                            the complainant with information on safety and victim services.


  Graduate   &       Graduate    &   Stalking               A G&P student reported that a G&P student with whom the complainant
  Professional       Professional                           previously had a relationship sent unwanted messages on a number of
  Student            Student                                occasions. The YPD warned the respondent not to contact the
                                                            complainant and provided the complainant with information on safetv
                                                            and victim services.


  Graduate   &       Yale            Sexual harassment      A G&P student reported that a Yale affrliate made unwanted advances.
  Professional       Affiliate                              The YPD wamed the respondent not to contact the complainant. The
  Student                                                   YPD provided the complainant with information on safety and victim
                                                            services.

  Graduate   &       Non-Yale        Sexual harassment      G&P students reported that a non-Yale individual made threatening
  Professional                                              sexual gestures toward them. The YPD investigated and arrested the
  Students                                                  respondent. The YPD provided the complainant with information on
                                                            safetv and victim services.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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Graduate    &       Non-Yale       Stalkins              A G&P student reported that a non-Yale individual with whom the
Professional                                             complainant previously had a relationship followed her and sent
Student                                                  unwanted messages on a number of occasions. The YPD investigation is
                                                         ongoing. The YPD provided the complainant with information on safety
                                                         and victim services.


Graduate    &       Non-Yale       Other                 A G&P student reported that a non-Yale individual engaged in indecent
Professional                                             exposure. The YPD investigated and arrested the respondent. The YPD
Student                                                  provided the complainant with information on safety and victim services.


Graduate    &       Unknown        Stalking              G&P students reported receiving sexually explicit and threatening
Professional                                             messages from an unknown source on multiple occasions. The YPD
Students                                                 investigation is ongoing. The YPD provided the complainants with
                                                         information on safetv and victim services.

Graduate    &       Unknown        Sexual harassment     Multiple G&P students reported receiving sexually explicit phone calls
Professional                                             from an unknown caller. The YPD investigation is ongoing. The YPD
Student                                                  provided the complainants with information on safety and victim
                                                         services.


Graduate    &       Unknown        Stalking              G&P students reported that an unknown individual followed them in         a
Professional                                             car repeatedly while they walked down the street. The YPD
 Students                                                investigation is ongoing. The YPD provided the complainants with
                                                         information on safety and victim services.


 Staff              Non-Yale       Intimate partner      A staff member reported   a physical assault by a non-Yale individual with
                                   violence              whom the complainant previously had a relationship. The YPD
                                                         investigated and arrested the respondent. The YPD provided the
                                                         complainant with information on safety and victim services.

 Staff              Non-Yale       Stalking              A staffmember reported that a non-Yale individual with whom the
                                                          complainant previously had a relationship waited for the complainant in
                                                          the complainant's offtce building and sent unwanted and threatening
                                                          messages on a number of occasions. The YPD investigation is ongoing.
                                                          The YPD provided the complainant with information on safety and
                                                          victim services.

 Non-Yale           Yale College   Sexual assault         A non-Yale student reported that a YC student physically assaulted the
                    Student                               complainant and engaged in sexual penetration without consent. The
                                                          YPD investigated and also notified the Title IX Coordinator who reached
                                                          out to the complainant. The complainant declined to participate in a
                                                          formal complaint or criminal charges at this time. The YPD provided the
                                                          complainant with information on safety and victim services.

 Non-Yale           Yale College   Sexual assault         A non-Yale student reported that a YC student engaged in sexual
                    Student                               penetration without consent. The YPD investigated and also notified the
                                                          Title IX Coordinator who reached out to the complainant. The
                                                          complainant declined to participate in a formal complaint or criminal
                                                          charges at this time. The YPD provided the complainant with
                                                          information on safetv and victim services.


 Non-Yale           Graduate   &    Stalking              A non-Yale individual reported receiving unwanted and disturbing
                    Professional                          emails from a G&P student on a number of occasions. The YPD
                    Student                               investigation is ongoing. The YPD provided the complainant with
                                                          information on safetv and victim services.




Questions? See the Title IX FAQs and Sexual Misconduct Scenarios for more information.

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 Non-Yale            Non-Yale          Sexual harassment      An administrator referred a non-Yale student participating irf a Yale
                     Student                                  program who reported that a non-Yale student made unwanted advances.
                                                              The respondent was removed from the program. The YPD banned the
                                                              respondent from the Yale campus and provided the complainant with
                                                              information on safetv and victim services.

 Non-Yale Studenl    Unknown           Sexual harassment      An administrator referred a non-Yale student participating in a Yale
                                                              program who reported that an unknown individual made unwanted
                                                              advances. The YPD investigation is ongoing. The YPD provided the
                                                              complainant with information on safety and victim services.




Brief Definitions
For more information on Yale's sexual misconduct policies and definitions, go to the Sexual Misconduct
Response website.


The following are definitions for the specific terms Yale uses in this Report to categorize behaviors that make
up the range of Sexual Misconduct.

Sexual øssault is any kind ofnonconsensual sexual contact, including rape, groping, sexual penetration (which
is the insertion ofa penis, finger or object into another person's vagina or anus), or any other nonconsensual
sexual touching.ii
     Sexual activity requires consent,which is defined as positive, unambiguous, and voluntary agreement to
     engage in specific sexual activity throughout a sexual encounter. Consent cannot be inferred from the
     absence of a "no"; a clear "yes," verbal or otherwise, is necessary. Consent to some sexual acts does not
     constitute consent to others, nor does past consent to a given act constitute present or future consent.
     Consent must be ongoing throughout a sexual encounter and can be revoked at any time.
     Consent cannot be obtained by threat, coercion, or force. Agreement under such circumstances does not
     constitute consent.
     Consent cannot be obtained from someone who is asleep or otherwise mentally or physically incapacitated,
     whether due to alcohol, drugs, or some other condition. A person is mentally or physically incapacitated
     when that person lacks the ability to make or act on considered decisions to engage in sexual activity.
     Engaging in sexual activity with a person whom you know -- or reasonably should know -- to be
     incapacitated constitutes sexual misconduct. For illustrations of Yale's consent definition, see the Sexual
     Mi s ò onduct Sc en ar i o s at http /i smr.yale. edu/.
                                        :




IntimaÍe pørtner violence (IPV) occurs when a current or former intimate partner uses or threatens physical or
sexual violence. IPV also may take the form of a pattem of behavior that seeks to establish power and control
by causing fear of physical or sexual violence. Stalking may also constitute IPV.
Sexuøl hørøssmenl consists ofnonconsensual sexual advances, requests for sexual favors, or other verbal or
physical conduct of a sexual nature on or offcampus, when: (l) submission to such conduct is made either
explicitþ or implicitly a condition of an individual's employment or academic standing; or (2) submission to or


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  The sexual assault data in this report will not correspond to Yale's annual report required under the federal Clery Act because this
report uses a more expansive definition of sexual assault and includes cases from a wider geographic jurisdiction than in the Clery
report.


Questions? See the Title IX FAQs and Sexual Misconduct Scenarios for more information.

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rejection of such conduct is used as the basis for employment decisions or for academic evaluation, grades, or
advancement; or (3) such conduct has the purpose or effect of unreasonably interfering with an individual's
work or academic performance or creating an intimidating or hostile academic or work environment. Sexual
harassment may be found in a single episode, as well as in persistent behavior. Both men and women are
protected from sexual harassment, and sexual harassment is prohibited regardless ofthe sex ofthe harasser.
Støtking is repeated or obsessive unwanted attention directed toward an individual or group that is likely to
cause alarm, fear, or substantial emotional distress. St¿lking may take many forms, including following, lying
in wait, monitoring, and pursuing contact. Stalking may occur in person or through a medium of
communication, such as letters, e-mail, text messages, or telephone calls. In some circumstances, two instances
of such behavior may be sufficient to constitute stalking.
Other includes a range of prohibited behaviors that do not fall into the categories above. Examples include
voyeurism, audio-visual recording of sexual activity without consent, retaliation, and violations of the Policy on
Teacher-Student Consensual Relations.



Terminology Commonly Used in this Report
*IJWCformal complaínt": Formal resolution of a complaint through the UWC involves an investigation by an
external fact-finder, a hearing, adjudication, and possible disciplinary sanctions. See the UWC Procedures for
more information.

"UWC informøl complainf': Informal resolution through the UWC does not include extensive investigation, a
hearing, or a determination as to the validity of the allegations. The goal is to achieve a resolution that is desired
by the complainant and acceptable to the respondent, and to counsel and educate the parties.iii See the UWC
Procedures for more information.

"A Title IX Coordinator brought aformnl complaìnt...": (Jnder certain circumstances, the Title IX
Coordinator of the University or any Yale School may bring a complaint to the UWC. Generally, a Title IX
Coordinator may file a complaint in situations on behalf of someone who experienced sexual misconduct but
who cannot or will not themselves take the formal role of a complainant; this may be an issue ofjurisdiction,
safety, or preference. In certain circumstances involving a serious threat to the University community, a Title
IX coordinator may bring a complaint to the UWC when there is evidence that the University's policy on sexual
misconduct has been violated and the Title IX Coordinator's intervention is needed to ensure that the matter
reaches the   UWC.      See the   UWC procedures for more information.

"The Title IX Coordinator invesligaled...": An investigation by a Title IX Coordinator generally includes, but
is not limited to: interviewing the complaint and respondent, interviewing any witnesses or other parties with
knowledge of the alleged conduc! and collecting documentation (including email or other communications)
relevant to the complaint. Upon reviewing the evidence gathered, The Title IX Coordinator determines whether
aviolation of University policy occurred, whether any actions should be taken, and recommends disciplinary
action, if warranted.

"sufJicicnt evidence to support the allegations": The UWC and the Title IX Coordinators apply the
"preponderance of the evidence" standard (i.e., it is more likely than not) to determine, based on the evidence


iii Note that the University does not allow face-to-face mediation in cases alleging sexual violence.


Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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gathered during the investigation, whether the alleged conduct occurred and,    if   so, whether it violates any
University policies.
"The respondent was counseled on appropriøte conducf': In some cases, the Chair of the UWC, the Title IX
Coordinator, or an administrator working in consultation with the Title IX Coordinator, will meet with the
respondent to review the allegations and the universþ's definitions and policies, discuss and affirm expected
behaviors, and warn the respondent about possible consequences for violations of the University sexual
misconduct policies.

"Imposed no-contact restrictions": In most cases, the respondent is issued a warning to cease all forms of
contact (including physical, verbal, and electronic) with the complainant. In some cases, contact restrictions
may limit access to any or certain parts of campus.

"Provided the complainant with information on safely ønd vìctìm services": The YPD has a Sensitive Crimes
& Support Coordinator who assists those affected by sexual misconduct and can help complainants make
contact with SHARE or other Universþ offices, coordinate interim safety measures, provide safety planning,
and serve as a liaison with victims' assistance services. See the YPD website for more information.




Questions? See the Title IX FAOs and Sexual Misconduct Scenarios for more information.

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